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             EXHIBIT
                B
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 2 of 105 PageID #:1229
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 3 of 105 PageID #:1230
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 4 of 105 PageID #:1231
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 5 of 105 PageID #:1232
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 6 of 105 PageID #:1233
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             EXHIBIT
                1
4306793020310267

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            PO BOX 456                     ALEXANDRIA VA 22313-0456
                                                                                                          ACCOUNT SUMMARY
                                                                                                          Account number      xxxx xxxx xxxx 0267
                                                                                                          New balance                   $13,265.92
            MICHAEL J WOOD
            4555 N KOSTNER AVE                                                                            Minimum payment due               265.00
            CHICAGO IL 60630-4109
                                                                                                          Payment due date by 5:00 p.m.   10/15/12
                                                                                           8874


              FDDATFDAFATFFADADAFFDTTAAFDFDDTATDFTDDTATADDAFADAADDTFFFAFFAFDTDA


                                                                                                          Please make your payment payable to:
                                                                                                          PENFED CREDIT UNION
              PENFED CREDIT UNION                                                                             Address Change? Check box. Print new address
              PO BOX 247080                                                                                   and telephone number on back of this form.
              OMAHA, NE 68124-7080
            AFDDDAADDFFTTFFAFDFAFTDDFADDTDTTADAFTTTDFTTDFFAAATDATAAADFDFFAFTD


                                                                                                                               02676

            Detach the top portion and return payment using enclosed envelope to be received no later than 5:00 p.m. on the due date.Please use blue or black ink.




            SUMMARY OF ACCOUNT ACTIVITY
              Account Number                                   xxxx xxxx xxxx 0267                Statement Closing Date                                 09/18/12
              Credit Limit                                             $13,500.00                 Previous Balance                                     $13,475.59
              Available Credit                                            $234.00                 Payments                            -                   $270.00
              Cash Advance Limit                                       $13,500.00                 Other Credits                       -                     $0.00
              Available Cash                                              $234.00                 Purchases                           +                     $0.00
              Past Due Amount                                                $0.00                Cash Advances                       +                     $0.00
              Overlimit Amount                                               $0.00                Other Debits                        +                     $0.00
                                                                                                  Fees Charged                        +                       $0.00
                                                                                                  Interest Charged                    +                      $60.33

              Questions? Call Cardholder Service                       1-800-247-5626             New Balance                                          $13,265.92
              Lost or Stolen Card                                      1-800-556-5678
                                                                                                  Days in Billing Cycle                                              31
              Please send billing inquiries and correspondence to:
              PFCU VISA P.O. BOX 456 ALEXANDRIA,VA 223130456

              Remit payment to:
              PO BOX 247080                         OMAHA, NE 68124-7080


            PAYMENT INFORMATION
              Minimum Payment Due                                              $265.00            Payment Due Date                                          10/15/12

            Late Payment Warning:
            If we do not receive your minimum payment on the due date listed above, you may have to pay a late fee and your
            APR may be increased.

            Minimum Payment Warning:
            If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off
            your balance. The table is based on your standard minimum payment and does not include any past due and overlimit
            amounts. For example:

                If you make no additional charges                       You will pay off the balance shown                     And you will end up paying
             using this card and each month you pay                        on this statement in about...                         an estimated total of...

                    Only the minimum payment                                              51 years                                          $41,368


                                   $430                                                    3 years                                        $15,493
                                                                                                                                    (Savings = $25,875)


            If you would like information about credit counseling services, call 1-866-685-6322.


            TRANSACTIONS
            Trans      Post              Reference Number                   Description                                                                   Amount
            09/13      09/13             7430679LJ00XV5TP4                     CR. CARD PAYMENT                    ALEXANDRIA             VA               - 270.00
                                                                            Fees




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       MICHAEL J WOOD                                                 Account Number:       xxxx xxxx xxxx 0267

                                                           TOTAL FEES FOR THIS PERIOD                                          0.00
                                                           Interest Charged
       09/18    09/18                                        Interest Charge on Purchases                                     14.06
       09/18    09/18                                        Interest Charge on Cash Advances                                 46.27
                                                           TOTAL INTEREST FOR THIS PERIOD                                     60.33

                                                             2012 Totals Year-to-Date
                                   Total fees charged in 2012                                                    0.00
                                   Total interest charged in 2012                                          460.40



       INTEREST CHARGE CALCULATION
        Your Annual Percentage Rate (APR) is the annual rate on your account.

                                                      ANNUAL
                                                    PERCENTAGE          Balance Subject to        INTEREST              Remaining
        Type of Balance                              RATE (APR)            Interest Rate           CHARGE                Balance
        Purchases                                      9.99% (v)                $0.00              $0.00                    $0.00
        Cash Advances                                 17.99%                    $0.00              $0.00                    $0.00
        Balance Transfer  Cash                         4.99%                $6,547.93             $27.23                $6,575.16
        Balance Transfer  Cash                         4.99%                $4,577.09             $19.04                $4,596.13
        Special Rate     Purchases                     7.49%                $2,252.44             $14.06                $2,094.63

        Days in Billing Cycle:31                      (v) = Variable Rate


       See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown
       above you have no previous balance for either purchases or cash advances after we apply payments and credits
       made during the billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle
       closing date (that is on or before the payment due date), you will not have to pay a INTEREST CHARGE on the new
       purchases shown above. However, cash advances continue to accrue interest charges until paid in full.

       NOTES OF INTEREST
                            DON'T FORGET TO USE YOUR PENFED VISA CARD TO SAVE ON BACK-
                             TO-SCHOOL NECESSITIES LIKE SCHOOL SUPPLIES, ELECTRONICS,
                            APPAREL, FOOTWEAR, AND MUCH MORE. SEE THE ENCLOSED INSERT
                              AND VISIT PENFED.ORG/VISADISCOUNTS FOR WAYS TO SAVE BIG.




6486    QFD 2       18                  7              Page 2 of 2          5752   3000   JZKA   0000   120918     O1AA6486     8874
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 11 of 105 PageID #:1238

            PO BOX 456                     ALEXANDRIA VA 22313-0456
                                                                                                          ACCOUNT SUMMARY
                                                                                                          Account number      xxxx xxxx xxxx 0267
                                                                                                          New balance                   $13,264.23
            MICHAEL J WOOD
            4555 N KOSTNER AVE                                                                            Minimum payment due               265.00
            CHICAGO IL 60630-4109
                                                                                                          Payment due date by 5:00 p.m.   11/15/12
                                                                                           8976


              DATDTTFFAAFFATFATDTATFTADTFATFATDFFDATAFFFDFATFDFTAFDDFAFDDFAFAAT


                                                                                                          Please make your payment payable to:
                                                                                                          PENFED CREDIT UNION
              PENFED CREDIT UNION                                                                             Address Change? Check box. Print new address
              PO BOX 247080                                                                                   and telephone number on back of this form.
              OMAHA, NE 68124-7080
            ATFTADDFDTTAAFADDATTDFAAAFFAAAAFATDTTAFAAAAAADDDTATDTDFDAFDTFDTAA


                                                                                                                               02674

            Detach the top portion and return payment using enclosed envelope to be received no later than 5:00 p.m. on the due date.Please use blue or black ink.




            SUMMARY OF ACCOUNT ACTIVITY
              Account Number                                   xxxx xxxx xxxx 0267                Statement Closing Date                                 10/18/12
              Credit Limit                                             $13,500.00                 Previous Balance                                     $13,265.92
              Available Credit                                            $235.00                 Payments                            -                   $265.00
              Cash Advance Limit                                       $13,500.00                 Other Credits                       -                     $0.00
              Available Cash                                              $235.00                 Purchases                           +                   $203.52
              Past Due Amount                                                $0.00                Cash Advances                       +                     $0.00
              Overlimit Amount                                               $0.00                Other Debits                        +                     $0.00
                                                                                                  Fees Charged                        +                       $0.00
                                                                                                  Interest Charged                    +                      $59.79

              Questions? Call Cardholder Service                       1-800-247-5626             New Balance                                          $13,264.23
              Lost or Stolen Card                                      1-800-556-5678
                                                                                                  Days in Billing Cycle                                              30
              Please send billing inquiries and correspondence to:
              PFCU VISA P.O. BOX 456 ALEXANDRIA,VA 223130456

              Remit payment to:
              PO BOX 247080                         OMAHA, NE 68124-7080


            PAYMENT INFORMATION
              Minimum Payment Due                                              $265.00            Payment Due Date                                          11/15/12

            Late Payment Warning:
            If we do not receive your minimum payment on the due date listed above, you may have to pay a late fee and your
            APR may be increased.

            Minimum Payment Warning:
            If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off
            your balance. The table is based on your standard minimum payment and does not include any past due and overlimit
            amounts. For example:

                If you make no additional charges                       You will pay off the balance shown                     And you will end up paying
             using this card and each month you pay                        on this statement in about...                         an estimated total of...

                    Only the minimum payment                                              51 years                                          $41,792


                                   $433                                                    3 years                                        $15,587
                                                                                                                                    (Savings = $26,205)


            If you would like information about credit counseling services, call 1-866-685-6322.


            TRANSACTIONS
            Trans      Post              Reference Number                   Description                                                                   Amount
            09/25      09/26             2449215LYRNWEE5E7                     PAYPAL *VINOCLASSIC                   402-935-7733 CA                          66.45
            10/01      10/02             2449215M3RP5K0083                     PAYPAL *BOOKSTORE                     402-935-7733 CA                        100.47




     6486     QFD 2           18                    7                   Page 1 of 2                5752     3000    JZKA     0000     121018     O1AA6486            8976
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       MICHAEL J WOOD                                                 Account Number:       xxxx xxxx xxxx 0267

       10/02    10/04        2449215M6RPA6S0QR               PAYPAL *JOSBANKCLOT            402-935-7733 MD                   36.60
       10/13    10/13        7430679MG00XVEYMK               CR. CARD PAYMENT             ALEXANDRIA     VA                - 265.00
                                                           Fees
                                                           TOTAL FEES FOR THIS PERIOD                                          0.00
                                                           Interest Charged
       10/18    10/18                                        Interest Charge on Purchases                                     13.52
       10/18    10/18                                        Interest Charge on Cash Advances                                 46.27
                                                           TOTAL INTEREST FOR THIS PERIOD                                     59.79

                                                             2012 Totals Year-to-Date
                                   Total fees charged in 2012                                                    0.00
                                   Total interest charged in 2012                                          520.19



       INTEREST CHARGE CALCULATION
        Your Annual Percentage Rate (APR) is the annual rate on your account.

                                                      ANNUAL
                                                    PERCENTAGE          Balance Subject to        INTEREST              Remaining
        Type of Balance                              RATE (APR)            Interest Rate           CHARGE                Balance
        Purchases                                      9.99% (v)                $0.00              $0.00                    $0.00
        Cash Advances                                 17.99%                    $0.00              $0.00                    $0.00
        Balance Transfer  Cash                         4.99%                $6,547.93             $27.23                $6,575.16
        Balance Transfer  Cash                         4.99%                $4,577.09             $19.04                $4,596.13
        Special Rate     Purchases                     7.49%                $2,165.80             $13.52                $2,092.94

        Days in Billing Cycle:30                      (v) = Variable Rate


       See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown
       above you have no previous balance for either purchases or cash advances after we apply payments and credits
       made during the billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle
       closing date (that is on or before the payment due date), you will not have to pay a INTEREST CHARGE on the new
       purchases shown above. However, cash advances continue to accrue interest charges until paid in full.

       NOTES OF INTEREST
                             PENFED PROUDLY OFFERS ONLINE-ONLY 1.49% APR NEW, USED (ALL
                             MODEL YEARS) AND REFINANCE CAR LOANS FOR UP TO 60 MONTHS.
                              GREAT LOW RATE + LONGER TERM = LOWER PAYMENTS! PAYMENT
                                 EXAMPLE: $20,000 AT 1.49% APR; 60 MONTHLY PAYMENTS
                               OF APPROXIMATELY $346.11. VISIT PENFED.ORG/CARLOAN FOR
                                DETAILS AND TO APPLY TODAY. OFFER EFFECTIVE 10/1/2012.




6486    QFD 2       18                  7              Page 2 of 2          5752   3000   JZKA   0000   121018     O1AA6486     8976
4306793020310267

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            PO BOX 456                     ALEXANDRIA VA 22313-0456
                                                                                                          ACCOUNT SUMMARY
                                                                                                          Account number      xxxx xxxx xxxx 0267
                                                                                                          New balance                   $13,198.91
            MICHAEL J WOOD
            4555 N KOSTNER AVE                                                                            Minimum payment due               264.00
            CHICAGO IL 60630-4109
                                                                                                          Payment due date by 5:00 p.m.   12/15/12
                                                                                           9010


              TFAFDTTDDTDDAFFTFTTADTTFDFTAAFAFTFAFTFTDAAFAATFTTAAAAFTATTFATDFFT


                                                                                                          Please make your payment payable to:
                                                                                                          PENFED CREDIT UNION
              PENFED CREDIT UNION                                                                             Address Change? Check box. Print new address
              PO BOX 247080                                                                                   and telephone number on back of this form.
              OMAHA, NE 68124-7080
            DFAFAAFATTFADTTATFADADFADTTDFTDDDFDFFADFDFDTFTTADTFFDFAAFTADAAADT


                                                                                                                               02674

            Detach the top portion and return payment using enclosed envelope to be received no later than 5:00 p.m. on the due date.Please use blue or black ink.




            SUMMARY OF ACCOUNT ACTIVITY
              Account Number                                   xxxx xxxx xxxx 0267                Statement Closing Date                                 11/18/12
              Credit Limit                                             $13,500.00                 Previous Balance                                     $13,264.23
              Available Credit                                            $301.00                 Payments                            -                   $265.00
              Cash Advance Limit                                       $13,500.00                 Other Credits                       -                     $0.00
              Available Cash                                              $301.00                 Purchases                           +                   $140.22
              Past Due Amount                                                $0.00                Cash Advances                       +                     $0.00
              Overlimit Amount                                               $0.00                Other Debits                        +                     $0.00
                                                                                                  Fees Charged                        +                       $0.00
                                                                                                  Interest Charged                    +                      $59.46

              Questions? Call Cardholder Service                       1-800-247-5626             New Balance                                          $13,198.91
              Lost or Stolen Card                                      1-800-556-5678
                                                                                                  Days in Billing Cycle                                              31
              Please send billing inquiries and correspondence to:
              PFCU VISA P.O. BOX 456 ALEXANDRIA,VA 223130456

              Remit payment to:
              PO BOX 247080                         OMAHA, NE 68124-7080


            PAYMENT INFORMATION
              Minimum Payment Due                                              $264.00            Payment Due Date                                          12/15/12

            Late Payment Warning:
            If we do not receive your minimum payment on the due date listed above, you may have to pay a late fee and your
            APR may be increased.

            Minimum Payment Warning:
            If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off
            your balance. The table is based on your standard minimum payment and does not include any past due and overlimit
            amounts. For example:

                If you make no additional charges                       You will pay off the balance shown                     And you will end up paying
             using this card and each month you pay                        on this statement in about...                         an estimated total of...

                    Only the minimum payment                                              51 years                                          $42,094


                                   $434                                                    3 years                                        $15,614
                                                                                                                                    (Savings = $26,480)


            If you would like information about credit counseling services, call 1-866-685-6322.


            TRANSACTIONS
            Trans      Post              Reference Number                   Description                                                                   Amount
            10/19      10/21             2449215MNRP7E9MH5                     PAYPAL *JOSBANKCLOT                     402-935-7733 MD                        31.88
            11/08      11/09             2449215N9RPAH0DZM                     PAYPAL *DODOCASEINC                     402-935-7733 CA                        69.95




     6486     QFD 2           18                    7                   Page 1 of 2                5752     3000    JZKA     0000     121118     O1AA6486            9010
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       MICHAEL J WOOD                                                 Account Number:       xxxx xxxx xxxx 0267

       11/11    11/13        2449215NDRPH5GR3T               PAYPAL *GRUBHUBFOOD             402-935-7733 IL                  38.39
       11/15    11/15        7430679NG00XSS6LD               CR. CARD PAYMENT             ALEXANDRIA     VA                - 265.00
                                                           Fees
                                                           TOTAL FEES FOR THIS PERIOD                                          0.00
                                                           Interest Charged
       11/18    11/18                                        Interest Charge on Purchases                                     13.19
       11/18    11/18                                        Interest Charge on Cash Advances                                 46.27
                                                           TOTAL INTEREST FOR THIS PERIOD                                     59.46

                                                             2012 Totals Year-to-Date
                                   Total fees charged in 2012                                                    0.00
                                   Total interest charged in 2012                                          579.65



       INTEREST CHARGE CALCULATION
        Your Annual Percentage Rate (APR) is the annual rate on your account.

                                                      ANNUAL
                                                    PERCENTAGE          Balance Subject to        INTEREST              Remaining
        Type of Balance                              RATE (APR)            Interest Rate           CHARGE                Balance
        Purchases                                      9.99% (v)                $0.00              $0.00                    $0.00
        Cash Advances                                 17.99%                    $0.00              $0.00                    $0.00
        Balance Transfer  Cash                         4.99%                $6,547.93             $27.23                $6,575.16
        Balance Transfer  Cash                         4.99%                $4,577.09             $19.04                $4,596.13
        Special Rate     Purchases                     7.49%                $2,112.75             $13.19                $2,027.62

        Days in Billing Cycle:31                      (v) = Variable Rate


       See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown
       above you have no previous balance for either purchases or cash advances after we apply payments and credits
       made during the billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle
       closing date (that is on or before the payment due date), you will not have to pay a INTEREST CHARGE on the new
       purchases shown above. However, cash advances continue to accrue interest charges until paid in full.

       NOTES OF INTEREST
                            WE HAVE A NEW AND IMPROVED ANNUAL ACCOUNT SUMMARY DESIGN
                             FOR 2012. DON'T FORGET TO REQUEST YOUR COPY BY DECEMBER
                               15, 2012, IF YOU HAVE NOT ALREADY DONE SO. YOU CAN DO SO
                             BY VISITING PENFED.ORG/SUMMARY OR BY CALLING 800-247-5626.

                            WE HAVE A NEW AND IMPROVED ANNUAL ACCOUNT SUMMARY DESIGN
                             FOR 2012. DON'T FORGET TO REQUEST YOUR COPY BY DECEMBER
                               15, 2012, IF YOU HAVE NOT ALREADY DONE SO. YOU CAN DO SO
                             BY VISITING PENFED.ORG/SUMMARY OR BY CALLING 800-247-5626.




6486    QFD 2       18                  7              Page 2 of 2          5752   3000   JZKA   0000   121118     O1AA6486     9010
4306793020310267

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            PO BOX 456                     ALEXANDRIA VA 22313-0456
                                                                                                          ACCOUNT SUMMARY
                                                                                                          Account number        xxxx xxxx xxxx 0267
                                                                                                          New balance                   $12,993.58
            MICHAEL J WOOD
            4555 N KOSTNER AVE                                                                            Minimum payment due                260.00
            CHICAGO IL 60630-4109
                                                                                                          Payment due date by 5:00 p.m.    01/15/13
                                                                                           9070


              DTFDFDAFTFFTDDAFADDTAAFFDTAAATATDATDAFFTFDTAFTDFDTATDTATDTDTTAFAF


                                                                                                          Please make your payment payable to:
                                                                                                          PENFED CREDIT UNION
              PENFED CREDIT UNION                                                                             Address Change? Check box. Print new address
              PO BOX 247080                                                                                   and telephone number on back of this form.
              OMAHA, NE 68124-7080
            DTFDDFDADFDFFADFDAAFDFDTDFTDFFTAAAFDDAAATTDTATATTFFDATTTATTATDATD


                                                                                                                               02676

            Detach the top portion and return payment using enclosed envelope to be received no later than 5:00 p.m. on the due date.Please use blue or black ink.




            SUMMARY OF ACCOUNT ACTIVITY
              Account Number                                   xxxx xxxx xxxx 0267                Statement Closing Date                                 12/18/12
              Credit Limit                                              $13,500.00                Previous Balance                                     $13,198.91
              Available Credit                                             $506.00                Payments                            -                   $264.00
              Cash Advance Limit                                        $13,500.00                Other Credits                       -                     $0.00
              Available Cash                                               $506.00                Purchases                           +                     $0.00
              Past Due Amount                                                 $0.00               Cash Advances                       +                     $0.00
              Overlimit Amount                                                $0.00               Other Debits                        +                     $0.00
                                                                                                  Fees Charged                        +                       $0.00
                                                                                                  Interest Charged                    +                      $58.67

              Questions? Call Cardholder Service                      1-800-247-5626              New Balance                                          $12,993.58
              Lost or Stolen Card                                     1-800-556-5678
                                                                                                  Days in Billing Cycle                                              30
              Please send billing inquiries and correspondence to:
              PFCU VISA P.O. BOX 456 ALEXANDRIA,VA 223130456

              Remit payment to:
              PO BOX 247080                         OMAHA, NE 68124-7080


            PAYMENT INFORMATION
              Minimum Payment Due                                              $260.00            Payment Due Date                                          01/15/13

            Late Payment Warning:
            If we do not receive your minimum payment on the due date listed above, you may have to pay a late fee and your
            APR may be increased.
            Minimum Payment Warning:
            If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off
            your balance. The table is based on your standard minimum payment and does not include any past due and overlimit
            amounts. For example:

                If you make no additional charges                       You will pay off the balance shown                     And you will end up paying
             using this card and each month you pay                        on this statement in about...                         an estimated total of...

                    Only the minimum payment                                              25 years                                          $21,208


                                   $407                                                    3 years                                        $14,637
                                                                                                                                     (Savings = $6,571)


            If you would like information about credit counseling services, call 1-866-685-6322.

            TRANSACTIONS
            Trans      Post              Reference Number                   Description                                                                   Amount
            12/15      12/15             7430679PF00XV3MBF                     CR. CARD PAYMENT                    ALEXANDRIA VA                           - 264.00
                                                                            Fees




     6486     QFD 2           18                    7                   Page 1 of 2                5752     3000    JZKB     0000     121218     O1AA6486            9070
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       MICHAEL J WOOD                                                     Account Number:    xxxx xxxx xxxx 0267

                                                            TOTAL FEES FOR THIS PERIOD                                           0.00
                                                            Interest Charged
       12/18    12/18                                           Interest Charge on Purchases                                    12.40
       12/18    12/18                                           Interest Charge on Cash Advances                                46.27
                                                            TOTAL INTEREST FOR THIS PERIOD                                      58.67

                                                                2012 Totals Year-to-Date
                                   Total fees charged in 2012                                                      0.00
                                   Total interest charged in 2012                                            638.32


       INTEREST CHARGE CALCULATION
        Your Annual Percentage Rate (APR) is the annual rate on your account.
                                                       ANNUAL
                                                     PERCENTAGE            Balance Subject to       INTEREST              Remaining
        Type of Balance                               RATE (APR)              Interest Rate          CHARGE                Balance
        Purchases                                        9.99%      (v)           $0.00              $0.00                    $0.00
        Cash Advances                                    9.99%      (v)           $0.00              $0.00                    $0.00
        Balance Transfer Cash                            4.99%                $6,547.93             $27.23                $6,575.16
        Balance Transfer Cash                            4.99%                $4,577.09             $19.04                $4,596.13
        Special Rate    Purchases                        7.49%                $1,987.15             $12.40                $1,822.29

        Days in Billing Cycle:30                        (v) = Variable Rate

       See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown
       above you have no previous balance for either purchases or cash advances after we apply payments and credits
       made during the billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle
       closing date (that is on or before the payment due date), you will not have to pay a INTEREST CHARGE on the new
       purchases shown above. However, cash advances continue to accrue interest charges until paid in full.

       NOTES OF INTEREST
                             USE YOUR PENFED VISA CARD FOR ALL OF YOUR HOLIDAY SHOPPING
                                THIS SEASON. YOU CAN GET DISCOUNTS ON APPAREL, SHOES,
                                  SPA VISITS, COMPUTERS, ELECTRONICS, AND MUCH MORE.
                                TO LEARN MORE, PLEASE VISIT PENFED.ORG/VISADISCOUNTS.




6486    QFD 2       18                  7               Page 2 of 2           5752   3000   JZKB   0000   121218     O1AA6486     9070
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 17 of 105 PageID #:1244

            PO BOX 456                     ALEXANDRIA VA 22313-0456
                                                                                                          ACCOUNT SUMMARY
                                                                                                          Account number        xxxx xxxx xxxx 0267
                                                                                                          New balance                   $12,790.95
            MICHAEL J WOOD
            4555 N KOSTNER AVE                                                                            Minimum payment due                256.00
            CHICAGO IL 60630-4109
                                                                                                          Payment due date by 5:00 p.m.    02/15/13
                                                                                           9097


              TDFAFFTFDDTTDFADFAATFDAFTFTDATTAAATATADTATATFTTFTFFTAATDTTFTTTDDF


                                                                                                          Please make your payment payable to:
                                                                                                          PENFED CREDIT UNION
              PENFED CREDIT UNION                                                                             Address Change? Check box. Print new address
              PO BOX 247080                                                                                   and telephone number on back of this form.
              OMAHA, NE 68124-7080
            AFDFTAADTFFDDDFAADFAADTDFTADTDDTDDAFATTDFDADDFAAFDDAFATADAFAFAFDD


                                                                                                                               02676

            Detach the top portion and return payment using enclosed envelope to be received no later than 5:00 p.m. on the due date.Please use blue or black ink.




            SUMMARY OF ACCOUNT ACTIVITY
              Account Number                                   xxxx xxxx xxxx 0267                Statement Closing Date                                 01/18/13
              Credit Limit                                              $13,500.00                Previous Balance                                     $12,993.58
              Available Credit                                             $709.00                Payments                            -                   $260.00
              Cash Advance Limit                                        $13,500.00                Other Credits                       -                     $0.00
              Available Cash                                               $709.00                Purchases                           +                     $0.00
              Past Due Amount                                                 $0.00               Cash Advances                       +                     $0.00
              Overlimit Amount                                                $0.00               Other Debits                        +                     $0.00
                                                                                                  Fees Charged                        +                       $0.00
                                                                                                  Interest Charged                    +                      $57.37

              Questions? Call Cardholder Service                      1-800-247-5626              New Balance                                          $12,790.95
              Lost or Stolen Card                                     1-800-556-5678
                                                                                                  Days in Billing Cycle                                              31
              Please send billing inquiries and correspondence to:
              PFCU VISA P.O. BOX 456 ALEXANDRIA,VA 223130456

              Remit payment to:
              PO BOX 247080                         OMAHA, NE 68124-7080


            PAYMENT INFORMATION
              Minimum Payment Due                                              $256.00            Payment Due Date                                          02/15/13

            Late Payment Warning:
            If we do not receive your minimum payment on the due date listed above, you may have to pay a late fee and your
            APR may be increased.
            Minimum Payment Warning:
            If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off
            your balance. The table is based on your standard minimum payment and does not include any past due and overlimit
            amounts. For example:

                If you make no additional charges                       You will pay off the balance shown                     And you will end up paying
             using this card and each month you pay                        on this statement in about...                         an estimated total of...

                    Only the minimum payment                                              25 years                                          $20,946


                                   $401                                                    3 years                                        $14,451
                                                                                                                                     (Savings = $6,495)


            If you would like information about credit counseling services, call 1-866-685-6322.

            TRANSACTIONS
            Trans      Post              Reference Number                   Description                                                                   Amount
            01/14      01/14             74306790E00XSRQ3Q                     CR. CARD PAYMENT                    ALEXANDRIA VA                           - 260.00
                                                                            Fees




     6486     QFD 2           18                    7                   Page 1 of 2                5752     3000    JZKB     0000     130118     O1AA6486            9097
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       MICHAEL J WOOD                                                     Account Number:    xxxx xxxx xxxx 0267

                                                            TOTAL FEES FOR THIS PERIOD                                           0.00
                                                            Interest Charged
       01/18    01/18                                           Interest Charge on Purchases                                    11.10
       01/18    01/18                                           Interest Charge on Cash Advances                                46.27
                                                            TOTAL INTEREST FOR THIS PERIOD                                      57.37

                                                                2013 Totals Year-to-Date
                                   Total fees charged in 2013                                                      0.00
                                   Total interest charged in 2013                                             57.37


       INTEREST CHARGE CALCULATION
        Your Annual Percentage Rate (APR) is the annual rate on your account.
                                                       ANNUAL
                                                     PERCENTAGE            Balance Subject to       INTEREST              Remaining
        Type of Balance                               RATE (APR)              Interest Rate          CHARGE                Balance
        Purchases                                        9.99%      (v)           $0.00              $0.00                    $0.00
        Cash Advances                                    9.99%      (v)           $0.00              $0.00                    $0.00
        Balance Transfer Cash                            4.99%                $6,547.93             $27.23                $6,575.16
        Balance Transfer Cash                            4.99%                $4,577.09             $19.04                $4,596.13
        Special Rate    Purchases                        7.49%                $1,777.41             $11.10                $1,619.66

        Days in Billing Cycle:31                        (v) = Variable Rate

       See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown
       above you have no previous balance for either purchases or cash advances after we apply payments and credits
       made during the billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle
       closing date (that is on or before the payment due date), you will not have to pay a INTEREST CHARGE on the new
       purchases shown above. However, cash advances continue to accrue interest charges until paid in full.

       NOTES OF INTEREST
                              DON'T CARRY HIGH-RATE BALANCES ON CREDIT CARDS THAT YOU
                             HAVE AT OTHER FINANCIAL INSTITUTIONS! TRANSFER THEM TO YOUR
                              PENFED CARD WITH AN OFFER THAT IS TRULY HARD TO BEAT. SEE
                            THE ENCLOSED INSERT FOR COMPLETE DETAILS AND TRANSFER YOUR
                           BALANCES CONVENIENTLY AND SECURELY ONLINE AT PENFED.ORG/XFR.




6486    QFD 2       18                  7               Page 2 of 2           5752   3000   JZKB   0000   130118     O1AA6486     9097
4306793020310267

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            PO BOX 456                     ALEXANDRIA VA 22313-0456
                                                                                                          ACCOUNT SUMMARY
                                                                                                          Account number        xxxx xxxx xxxx 0267
                                                                                                          New balance                   $12,590.86
            MICHAEL J WOOD
            4555 N KOSTNER AVE                                                                            Minimum payment due                252.00
            CHICAGO IL 60630-4109
                                                                                                          Payment due date by 5:00 p.m.    03/15/13
                                                                                           9154


              FFDAAADTDFTADATDDAADFTATAFTDDADFATDADDDFTTADDFTFAFDFTADDAFFDDTTDD


                                                                                                          Please make your payment payable to:
                                                                                                          PENFED CREDIT UNION
              PENFED CREDIT UNION                                                                             Address Change? Check box. Print new address
              PO BOX 247080                                                                                   and telephone number on back of this form.
              OMAHA, NE 68124-7080
            DFTTDDATFDATDADTFFDFDTTDTATTDDFTTAAADFTDDTFFFAFAATATTADDDDTAAADAF


                                                                                                                               02678

            Detach the top portion and return payment using enclosed envelope to be received no later than 5:00 p.m. on the due date.Please use blue or black ink.




            SUMMARY OF ACCOUNT ACTIVITY
              Account Number                                   xxxx xxxx xxxx 0267                Statement Closing Date                                 02/18/13
              Credit Limit                                              $13,500.00                Previous Balance                                     $12,790.95
              Available Credit                                             $909.00                Payments                            -                   $256.00
              Cash Advance Limit                                        $13,500.00                Other Credits                       -                     $0.00
              Available Cash                                               $909.00                Purchases                           +                     $0.00
              Past Due Amount                                                 $0.00               Cash Advances                       +                     $0.00
              Overlimit Amount                                                $0.00               Other Debits                        +                     $0.00
                                                                                                  Fees Charged                        +                       $0.00
                                                                                                  Interest Charged                    +                      $55.91

              Questions? Call Cardholder Service                      1-800-247-5626              New Balance                                          $12,590.86
              Lost or Stolen Card                                     1-800-556-5678
                                                                                                  Days in Billing Cycle                                              31
              Please send billing inquiries and correspondence to:
              PFCU VISA P.O. BOX 456 ALEXANDRIA,VA 223130456

              Remit payment to:
              PO BOX 247080                         OMAHA, NE 68124-7080


            PAYMENT INFORMATION
              Minimum Payment Due                                              $252.00            Payment Due Date                                          03/15/13

            Late Payment Warning:
            If we do not receive your minimum payment on the due date listed above, you may have to pay a late fee and your
            APR may be increased.
            Minimum Payment Warning:
            If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off
            your balance. The table is based on your standard minimum payment and does not include any past due and overlimit
            amounts. For example:

                If you make no additional charges                       You will pay off the balance shown                     And you will end up paying
             using this card and each month you pay                        on this statement in about...                         an estimated total of...

                    Only the minimum payment                                              25 years                                          $20,694


                                   $396                                                    3 years                                        $14,269
                                                                                                                                     (Savings = $6,425)


            If you would like information about credit counseling services, call 1-866-685-6322.

            TRANSACTIONS
            Trans      Post              Reference Number                   Description                                                                   Amount
            02/09      02/09             74306791900XV0KNQ                     CR. CARD PAYMENT                    ALEXANDRIA VA                           - 256.00
                                                                            Fees




     6486     QFD 2           18                    7                   Page 1 of 2                5752     3000    JZKB     0000     130218     O1AA6486            9154
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       MICHAEL J WOOD                                                     Account Number:    xxxx xxxx xxxx 0267

                                                            TOTAL FEES FOR THIS PERIOD                                           0.00
                                                            Interest Charged
       02/18    02/18                                           Interest Charge on Purchases                                     9.64
       02/18    02/18                                           Interest Charge on Cash Advances                                46.27
                                                            TOTAL INTEREST FOR THIS PERIOD                                      55.91

                                                                2013 Totals Year-to-Date
                                   Total fees charged in 2013                                                      0.00
                                   Total interest charged in 2013                                            113.28


       INTEREST CHARGE CALCULATION
        Your Annual Percentage Rate (APR) is the annual rate on your account.
                                                       ANNUAL
                                                     PERCENTAGE            Balance Subject to       INTEREST              Remaining
        Type of Balance                               RATE (APR)              Interest Rate          CHARGE                Balance
        Purchases                                        9.99%      (v)           $0.00              $0.00                    $0.00
        Cash Advances                                    9.99%      (v)           $0.00              $0.00                    $0.00
        Balance Transfer Cash                            4.99%                $6,547.93             $27.23                $6,575.16
        Balance Transfer Cash                            4.99%                $4,577.09             $19.04                $4,596.13
        Special Rate    Purchases                        7.49%                $1,544.48              $9.64                $1,419.57

        Days in Billing Cycle:31                        (v) = Variable Rate

       See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown
       above you have no previous balance for either purchases or cash advances after we apply payments and credits
       made during the billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle
       closing date (that is on or before the payment due date), you will not have to pay a INTEREST CHARGE on the new
       purchases shown above. However, cash advances continue to accrue interest charges until paid in full.

       NOTES OF INTEREST
                              DON'T CARRY HIGH-RATE BALANCES ON CREDIT CARDS THAT YOU
                             HAVE AT OTHER FINANCIAL INSTITUTIONS! TRANSFER THEM TO YOUR
                              PENFED CARD WITH AN OFFER THAT IS TRULY HARD TO BEAT. SEE
                            THE ENCLOSED INSERT FOR COMPLETE DETAILS AND TRANSFER YOUR
                           BALANCES CONVENIENTLY AND SECURELY ONLINE AT PENFED.ORG/XFR.
                              PENFED PROUDLY OFFERS ONLINE-ONLY 1.49% APR NEW, USED (ALL
                              MODEL YEARS) AND REFINANCE CAR LOANS FOR UP TO 60 MONTHS.
                                PAYMENT EX.: $20,000 AT 1.49% APR; 60 MONTHLY PAYMENTS OF
                              APPROXIMATELY $346.11. VISIT PENFED.ORG/CARLOAN FOR DETAILS.
                              EFF. 1/1/2013. PROMOTIONAL RATE IS NOT AVAILABLE TO REFINANCE
                               EXISTING PENFED CAR LOANS. OTHER RESTRICTIONS MAY APPLY.
                                  TAKE THE HASSLE OUT OF PAYING TAXES. USE YOUR PENFED
                                CREDIT CARD TO PAY YOUR FEDERAL, STATE & PROPERTY TAXES.
                              IT'S EASY AND SECURE. CERTAIN FEES & RESTRICTIONS MAY APPLY.
                                 GET STARTED TODAY! VISIT PAYUSATAX.COM, PAY1040.COM, OR
                                                   OFFICIALPAYMENTS.COM




6486    QFD 2       18                  7               Page 2 of 2           5752   3000   JZKB   0000   130218     O1AA6486     9154
4306793020310267

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            PO BOX 456                     ALEXANDRIA VA 22313-0456
                                                                                                          ACCOUNT SUMMARY
                                                                                                          Account number        xxxx xxxx xxxx 0267
                                                                                                          New balance                   $12,393.76
            MICHAEL J WOOD
            4555 N KOSTNER AVE                                                                            Minimum payment due                248.00
            CHICAGO IL 60630-4109
                                                                                                          Payment due date by 5:00 p.m.    04/15/13
                                                                                           9128


              ATTTAFFTAFAFTDTFTFADAFFTATADDTTTFTDTFAFADDFDFFTAFTDDFTFDFATTDATTD


                                                                                                          Please make your payment payable to:
                                                                                                          PENFED CREDIT UNION
              PENFED CREDIT UNION                                                                             Address Change? Check box. Print new address
              PO BOX 247080                                                                                   and telephone number on back of this form.
              OMAHA, NE 68124-7080
            FFFTADFFFAAADAAADFTTDTATAATTATADATDTTADFFADAFFDFTTTDTFADFFTDFAAAA


                                                                                                                               02676

            Detach the top portion and return payment using enclosed envelope to be received no later than 5:00 p.m. on the due date.Please use blue or black ink.




            SUMMARY OF ACCOUNT ACTIVITY
              Account Number                                   xxxx xxxx xxxx 0267                Statement Closing Date                                 03/18/13
              Credit Limit                                              $13,500.00                Previous Balance                                     $12,590.86
              Available Credit                                           $1,106.00                Payments                            -                   $252.00
              Cash Advance Limit                                        $13,500.00                Other Credits                       -                     $0.00
              Available Cash                                             $1,106.00                Purchases                           +                     $0.00
              Past Due Amount                                                 $0.00               Cash Advances                       +                     $0.00
              Overlimit Amount                                                $0.00               Other Debits                        +                     $0.00
                                                                                                  Fees Charged                        +                       $0.00
                                                                                                  Interest Charged                    +                      $54.90

              Questions? Call Cardholder Service                      1-800-247-5626              New Balance                                          $12,393.76
              Lost or Stolen Card                                     1-800-556-5678
                                                                                                  Days in Billing Cycle                                              28
              Please send billing inquiries and correspondence to:
              PFCU VISA P.O. BOX 456 ALEXANDRIA,VA 223130456

              Remit payment to:
              PO BOX 247080                         OMAHA, NE 68124-7080


            PAYMENT INFORMATION
              Minimum Payment Due                                              $248.00            Payment Due Date                                          04/15/13

            Late Payment Warning:
            If we do not receive your minimum payment on the due date listed above, you may have to pay a late fee and your
            APR may be increased.
            Minimum Payment Warning:
            If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off
            your balance. The table is based on your standard minimum payment and does not include any past due and overlimit
            amounts. For example:

                If you make no additional charges                       You will pay off the balance shown                     And you will end up paying
             using this card and each month you pay                        on this statement in about...                         an estimated total of...

                    Only the minimum payment                                              25 years                                          $20,444


                                   $391                                                    3 years                                        $14,091
                                                                                                                                     (Savings = $6,353)


            If you would like information about credit counseling services, call 1-866-685-6322.

            TRANSACTIONS
            Trans      Post              Reference Number                   Description                                                                   Amount
            03/15      03/15             74306792Q00XVB9GS                     CR. CARD PAYMENT                    ALEXANDRIA VA                           - 252.00
                                                                            Fees




     6486     QFD 2           18                    7                   Page 1 of 2                5752     3000    JZKB     0000     130318     O1AA6486            9128
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       MICHAEL J WOOD                                                     Account Number:    xxxx xxxx xxxx 0267

                                                            TOTAL FEES FOR THIS PERIOD                                           0.00
                                                            Interest Charged
       03/18    03/18                                           Interest Charge on Purchases                                     8.63
       03/18    03/18                                           Interest Charge on Cash Advances                                46.27
                                                            TOTAL INTEREST FOR THIS PERIOD                                      54.90

                                                                2013 Totals Year-to-Date
                                   Total fees charged in 2013                                                      0.00
                                   Total interest charged in 2013                                            168.18


       INTEREST CHARGE CALCULATION
        Your Annual Percentage Rate (APR) is the annual rate on your account.
                                                       ANNUAL
                                                     PERCENTAGE            Balance Subject to       INTEREST              Remaining
        Type of Balance                               RATE (APR)              Interest Rate          CHARGE                Balance
        Purchases                                        9.99%      (v)           $0.00              $0.00                    $0.00
        Cash Advances                                    9.99%      (v)           $0.00              $0.00                    $0.00
        Balance Transfer Cash                            4.99%                $6,547.93             $27.23                $6,575.16
        Balance Transfer Cash                            4.99%                $4,577.09             $19.04                $4,596.13
        Special Rate    Purchases                        7.49%                $1,381.91              $8.63                $1,222.47

        Days in Billing Cycle:28                        (v) = Variable Rate

       See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown
       above you have no previous balance for either purchases or cash advances after we apply payments and credits
       made during the billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle
       closing date (that is on or before the payment due date), you will not have to pay a INTEREST CHARGE on the new
       purchases shown above. However, cash advances continue to accrue interest charges until paid in full.

       NOTES OF INTEREST
                             DON'T CARRY HIGH-RATE BALANCES ON CREDIT CARDS THAT YOU
                            HAVE AT OTHER FINANCIAL INSTITUTIONS! TRANSFER THEM TO YOUR
                             PENFED CARD WITH AN OFFER THAT IS TRULY HARD TO BEAT. FOR
                           COMPLETE DETAILS AND TO TRANSFER YOUR BALANCES CONVENIENTLY
                                     AND SECURELY ONLINE, VISIT PENFED.ORG/XFR.
                                  TAKE THE HASSLE OUT OF PAYING TAXES. USE YOUR PENFED
                                CREDIT CARD TO PAY YOUR FEDERAL, STATE & PROPERTY TAXES.
                              IT'S EASY AND SECURE. CERTAIN FEES & RESTRICTIONS MAY APPLY.
                                 GET STARTED TODAY! VISIT PAYUSATAX.COM, PAY1040.COM, OR
                                                   OFFICIALPAYMENTS.COM




6486    QFD 2       18                  7               Page 2 of 2           5752   3000   JZKB   0000   130318     O1AA6486     9128
4306793020310267

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            PO BOX 456                     ALEXANDRIA VA 22313-0456
                                                                                                          ACCOUNT SUMMARY
                                                                                                          Account number        xxxx xxxx xxxx 0267
                                                                                                          New balance                   $12,199.34
            MICHAEL J WOOD
            4555 N KOSTNER AVE                                                                            Minimum payment due                244.00
            CHICAGO IL 60630-4109
                                                                                                          Payment due date by 5:00 p.m.    05/15/13
                                                                                           9233


              FFDDATDTADDFADTATADDTTFAFDFTDAAADDDDFADFTDDFADDTFATFDAFAAFDTDDAAF


                                                                                                          Please make your payment payable to:
                                                                                                          PENFED CREDIT UNION
              PENFED CREDIT UNION                                                                             Address Change? Check box. Print new address
              PO BOX 247080                                                                                   and telephone number on back of this form.
              OMAHA, NE 68124-7080
            FTDAFTTDATTDFTADATTTAAFDADTTTAAAFDTTAAFTAFAFADDDFFTAFDTFTFFTFDDFA


                                                                                                                               02675

            Detach the top portion and return payment using enclosed envelope to be received no later than 5:00 p.m. on the due date.Please use blue or black ink.




            SUMMARY OF ACCOUNT ACTIVITY
              Account Number                                   xxxx xxxx xxxx 0267                Statement Closing Date                                 04/18/13
              Credit Limit                                              $13,500.00                Previous Balance                                     $12,393.76
              Available Credit                                           $1,300.00                Payments                            -                   $248.00
              Cash Advance Limit                                        $13,500.00                Other Credits                       -                     $0.00
              Available Cash                                             $1,300.00                Purchases                           +                     $0.00
              Past Due Amount                                                 $0.00               Cash Advances                       +                     $0.00
              Overlimit Amount                                                $0.00               Other Debits                        +                     $0.00
                                                                                                  Fees Charged                        +                       $0.00
                                                                                                  Interest Charged                    +                      $53.58

              Questions? Call Cardholder Service                      1-800-247-5626              New Balance                                          $12,199.34
              Lost or Stolen Card                                     1-800-556-5678
                                                                                                  Days in Billing Cycle                                              31
              Please send billing inquiries and correspondence to:
              PENFED CARD SERVICES P.O. BOX 456 ALEXANDRIA, VA 223130456

              Remit payment to:
              PO BOX 247080                         OMAHA, NE 68124-7080


            PAYMENT INFORMATION
              Minimum Payment Due                                              $244.00            Payment Due Date                                          05/15/13

            Late Payment Warning:
            If we do not receive your minimum payment on the due date listed above, you may have to pay a late fee and your
            APR may be increased.
            Minimum Payment Warning:
            If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off
            your balance. The table is based on your standard minimum payment and does not include any past due and overlimit
            amounts. For example:

                If you make no additional charges                       You will pay off the balance shown                     And you will end up paying
             using this card and each month you pay                        on this statement in about...                         an estimated total of...

                    Only the minimum payment                                              25 years                                          $20,198


                                   $387                                                    3 years                                        $13,918
                                                                                                                                     (Savings = $6,280)


            If you would like information about credit counseling services, call 1-866-685-6322.

            TRANSACTIONS
            Trans      Post              Reference Number                   Description                                                                   Amount
            04/12      04/12             74306793600XSLNW9                     CR. CARD PAYMENT                    ALEXANDRIA VA                           - 248.00
                                                                            Fees




     6486     QFD 2           18                    7                   Page 1 of 2                5752     3000    JZKB     0000     130418     O1AA6486            9233
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       MICHAEL J WOOD                                                     Account Number:    xxxx xxxx xxxx 0267

                                                            TOTAL FEES FOR THIS PERIOD                                           0.00
                                                            Interest Charged
       04/18    04/18                                           Interest Charge on Purchases                                     7.31
       04/18    04/18                                           Interest Charge on Cash Advances                                46.27
                                                            TOTAL INTEREST FOR THIS PERIOD                                      53.58

                                                                2013 Totals Year-to-Date
                                   Total fees charged in 2013                                                      0.00
                                   Total interest charged in 2013                                            221.76


       INTEREST CHARGE CALCULATION
        Your Annual Percentage Rate (APR) is the annual rate on your account.
                                                       ANNUAL
                                                     PERCENTAGE            Balance Subject to       INTEREST              Remaining
        Type of Balance                               RATE (APR)              Interest Rate          CHARGE                Balance
        Purchases                                        9.99%      (v)           $0.00              $0.00                    $0.00
        Cash Advances                                    9.99%      (v)           $0.00              $0.00                    $0.00
        Balance Transfer Cash                            4.99%                $6,547.93             $27.23                $6,575.16
        Balance Transfer Cash                            4.99%                $4,577.09             $19.04                $4,596.13
        Special Rate    Purchases                        7.49%                $1,170.23              $7.31                $1,028.05

        Days in Billing Cycle:31                        (v) = Variable Rate

       See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown
       above you have no previous balance for either purchases or cash advances after we apply payments and credits
       made during the billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle
       closing date (that is on or before the payment due date), you will not have to pay a INTEREST CHARGE on the new
       purchases shown above. However, cash advances continue to accrue interest charges until paid in full.

       NOTES OF INTEREST
                            EXTEND THE VALUABLE BENEFITS YOU ENJOY ON YOUR CARD, SUCH AS
                            NO ANNUAL FEE AND NO FOREIGN TRANSACTION FEE, TO YOUR LOVED
                            ONES BY ADDING AN AUTHORIZED USER ACCOUNT. IT'S ALSO ANOTHER
                                  WAY TO CONSOLIDATE AND MONITOR FAMILY EXPENSES.
                               SEE THE ENCLOSED INSERT FOR COMPLETE DETAILS AND VISIT
                                             PENFED.ORG/AUTHUSER TODAY!




6486    QFD 2       18                  7               Page 2 of 2           5752   3000   JZKB   0000   130418     O1AA6486     9233
4306793020310267

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          6486             LWG          1       7   18     130517   0             PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                               Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     05/18/2013                                                             Previous Balance                                           $12,199.34
          Credit Limit                                               $13,500.00                                                       -     Payments                                                      $244.00
          Available Credit                                            $1,492.00                                                       -     Other Credits                                                   $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                       $0.00
          Available Cash                                              $1,492.00                                                       +     Cash Advances                                                   $0.00
                                                                                                                                      +     Other Debits                                                    $0.00




                                                                                                                                                                                                                            05/2013
                                                                                                                                      +     Fees Charged                                                    $0.00
                                                                                                                                      +     Interest Charged                                               $52.41
                                                                                                                                      =     New Balance                                                $12,007.75

                                                                                             Payment Information
          Payment Due Date: 06/15/2013                                                                                                                                Minimum Payment Due: $240.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         25 Years                           $19,957.00
                                            $382.00                                  3 Years                           $13,749.00
                                                                                                                (Savings = $6,208.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                   05/13                05/13                74306794500XSY5KX                      CR. CARD PAYMENT                        ALEXANDRIA VA                                          $244.00-
                                                                                                      Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                           $0.00
                                                                                                Interest Charges
                   05/18                05/18                                                       Interest Charge on Purchases                                                                        $6.14
                   05/18                05/18                                                       Interest Charge on Cash Advances                                                                   $46.27




                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                                June
                   PO BOX 456                                                                                                                                                                S M        T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                                                    1
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             2     3    4   5   6   7   8
                                                                                                                      New Balance                       $12,007.75                           9 10 11 12 13 14 15
                                                                                                                                                                                             16 17 18 19 20 21 22
                                                                                                                  Minimum Payment Due                       $240.00                          23 24 25 26 27 28 29
          Make Payment Payable to PENFED
                                                                                                                                                                                             30




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              DAFFTADTAFDADTDTTAAFAFDTDDDFFDTFFFFFFAAFTDATFTAADAFFFTAAATFFTTTDF                                           DTAFTDAFDAFDTAFDFFTAFFDFDADTADADTAADTDATFADADAFATDATTDATDTAFTAFFA



                                                                                                                                    02671
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 26 of 105 PageID #:1253
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 27 of 105 PageID #:1254
6486          LWG       1     7   18   130517    0          PAGE 2 of 2          1 0    5752   3000     JZKB   O1AI6486


              Cardholder Name                              Account Number                                                                     Page 2 of 2
               MICHAEL J WOOD                            XXXX-XXXX-XXXX-0267


                                                                   Transactions (continued)
       Post Date     Trans Date                  Reference                                            Description                             Amount
                                                                          TOTAL INTEREST FOR THIS PERIOD                                         $52.41
                                                                 2013 Totals Year-to-Date
                                          Total fees charged in 2013                                                $0.00
                                          Total interest charged in 2013                                          $274.17


                                                               Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                               APR                      Balance Subject To               Interest Charge   Remaining
                                                                   %                          Interest Rate                                    Balance
Purchases                                                          9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                      9.99% (V)                            $0.00                         $0.00          $0.00
SPECIAL RATE   PURCHASES                                           7.49%                              $982.65                         $6.14        $836.46
BALANCE TRANSFER CASH                                              4.99%                            $6,547.93                        $27.23      $6,575.16
BALANCE TRANSFER CASH                                              4.99%                            $4,577.09                        $19.04      $4,596.13
Days in Billing Cycle: 30                                         (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.

                                                                      Notes Of Interest
                                                Welcome to your re-designed statement. You will notice several
                                                  new features, which are designed to simplify your account
                                                     review. If you have any questions regarding these
                                                      enhancements, please contact Member Services.
                                                     Don't carry high-rate balances on credit cards with
                                                      other financial institutions! Transfer them to your
                                                     PenFed card with an offer that is truly hard to beat.
                                                     See the enclosed insert for complete details or visit
                                                                 us online at PenFed.org/Xfr.
                                                     Don't forget that you can enjoy discounts and special
                                                   offers among top brands and merchants simply by using
                                                 your PenFed Visa card--like saving $10 on purchases of $75
                                                 or more at acehardware.com through October 31, 2013. Visit
                                                 PenFed.org/visadiscounts for details and start saving today!
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 28 of 105 PageID #:1255
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 29 of 105 PageID #:1256
          6486             LWG          1       7   18     130618   0             PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     06/18/2013                                                             Previous Balance                                          $12,007.75
          Credit Limit                                               $13,500.00                                                       -     Payments                                                     $240.00
          Available Credit                                            $1,160.00                                                       -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                    $520.00
          Available Cash                                              $1,160.00                                                       +     Cash Advances                                                  $0.00
                                                                                                                                      +     Other Debits                                                   $0.00
                                                                                                                                      +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                              $51.92
                                                                                                                                      =     New Balance                                               $12,339.67




                                                                                                                                                                                                                           06/2013
                                                                                              Payment Information
          Payment Due Date: 07/15/2013                                                                                                                                Minimum Payment Due: $247.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         25 Years                           $20,590.00
                                            $394.00                                  3 Years                           $14,176.00
                                                                                                                (Savings = $6,414.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                   06/12                06/11                245060152WGREQR15                      GUANAJA AIR      901-490-2624 TN                                                              $520.00
                   06/12                06/12                 74306795400XV7LBH                     CR. CARD PAYMENT     ALEXANDRIA VA                                                            $240.00-
                                                                                                      Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                          $0.00
                                                                                                Interest Charges
                   06/18                06/18                                                       Interest Charge on Purchases                                                                       $5.65
                   06/18                06/18                                                       Interest Charge on Cash Advances                                                                  $46.27

                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                                July
                   PO BOX 456                                                                                                                                                                S M       T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                              1    2   3   4   5   6
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             7    8    9 10 11 12 13
                                                                                                                      New Balance                       $12,339.67                           14 15 16 17 18 19 20
                                                                                                                                                                                             21 22 23 24 25 26 27
                                                                                                                  Minimum Payment Due                       $247.00                          28 29 30 31
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              AFFAADFFATAFDDATTFDTTTFAATDTATFTFTDTATDFFFTAFFDFDDTDDFFDFFADDATFT                                           FFAAFATTFFTTTATFFAFDFTADAFTDFATAATTADADDTTTTFFTFTADAAAADTFADFTDDD



                                                                                                                                    02670
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 30 of 105 PageID #:1257
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 31 of 105 PageID #:1258
6486          LWG        1     7   18   130618    0         PAGE 2 of 2          1 0    5752   3000     JZKB   O1AI6486


              Cardholder Name                              Account Number                                                                     Page 2 of 2
               MICHAEL J WOOD                            XXXX-XXXX-XXXX-0267


                                                                   Transactions (continued)
       Post Date      Trans Date                  Reference                                           Description                             Amount
                                                                          TOTAL INTEREST FOR THIS PERIOD                                         $51.92
                                                                  2013 Totals Year-to-Date
                                           Total fees charged in 2013                                               $0.00
                                           Total interest charged in 2013                                         $326.09


                                                               Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                               APR                      Balance Subject To               Interest Charge   Remaining
                                                                   %                          Interest Rate                                    Balance
Purchases                                                          9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                      9.99% (V)                            $0.00                         $0.00          $0.00
SPECIAL RATE   PURCHASES                                           7.49%                              $905.37                         $5.65      $1,168.38
BALANCE TRANSFER CASH                                              4.99%                            $6,547.93                        $27.23      $6,575.16
BALANCE TRANSFER CASH                                              4.99%                            $4,577.09                        $19.04      $4,596.13
Days in Billing Cycle: 31                                         (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before the
payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash advances
and balance transfers continue to accrue interest charges until paid in full.

                                                                      Notes Of Interest
                                                 PenFed proudly offers online-only 1.74% APR new car loans
                                                 and online-only 2.49% APR used car loans (All Model Years)
                                                  so you can get where you're going for less. See enclosed
                                                  insert for complete details and visit PenFed.org/CarLoan
                                                 to apply for your new or used car loan today! Eff. 6/1/2013.
                                                     Celebrate the grads & dads in your life with special
                                                   offers from top brands and merchants simply by using
                                                  your PenFed Visa Card--like saving 10% on purchases of
                                                 $75 or more at KOHLS.com through October 31, 2013. Visit
                                                 PenFed.org/visadiscounts for details and start saving today!
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4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 33 of 105 PageID #:1260
          6486             LWG          1       7   18     130718   0             PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     07/18/2013                                                             Previous Balance                                          $12,339.67
          Credit Limit                                               $13,500.00                                                       -     Payments                                                     $247.00
          Available Credit                                            $1,354.00                                                       -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                      $0.00
          Available Cash                                              $1,354.00                                                       +     Cash Advances                                                  $0.00
                                                                                                                                      +     Other Debits                                                   $0.00
                                                                                                                                      +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                              $52.96
                                                                                                                                      =     New Balance                                               $12,145.63


                                                                                              Payment Information
          Payment Due Date: 08/15/2013                                                                                                                                Minimum Payment Due: $243.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the




                                                                                                                                                                                                                           07/2013
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         25 Years                           $20,347.00
                                            $390.00                                  3 Years                           $14,040.00
                                                                                                                (Savings = $6,307.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                   07/05                07/05                74306795W00XVEYNB                      CR. CARD PAYMENT                        ALEXANDRIA VA                                         $247.00-
                                                                                                      Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                          $0.00
                                                                                                Interest Charges
                   07/18                07/18                                                       Interest Charge on Purchases                                                                       $6.69
                   07/18                07/18                                                       Interest Charge on Cash Advances                                                                  $46.27


                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                               August
                   PO BOX 456                                                                                                                                                                S M       T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                                           1   2   3
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             4    5    6   7   8   9 10
                                                                                                                      New Balance                       $12,145.63                           11 12 13 14 15 16 17
                                                                                                                                                                                             18 19 20 21 22 23 24
                                                                                                                  Minimum Payment Due                       $243.00                          25 26 27 28 29 30 31
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              ATFDAADDFADAFFADDAATFFAAFFTFAATFADDFTAFAAAFTADTDTFDFTDTAAFTTFDTTA                                           TATTFAFFTDAFDDAFTFATAFFATTAFTADTDADAAAFFFDADFTTFFTFFFTTDFTTTAATTF



                                                                                                                                    02679
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 34 of 105 PageID #:1261
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 35 of 105 PageID #:1262
6486          LWG        1     7   18   130718   0         PAGE 2 of 2          1 0    5752   3000     JZKB   O1AI6486


              Cardholder Name                             Account Number                                                                      Page 2 of 2
               MICHAEL J WOOD                           XXXX-XXXX-XXXX-0267


                                                                  Transactions (continued)
       Post Date      Trans Date                 Reference                                           Description                              Amount
                                                                          TOTAL INTEREST FOR THIS PERIOD                                         $52.96
                                                                  2013 Totals Year-to-Date
                                           Total fees charged in 2013                                              $0.00
                                           Total interest charged in 2013                                        $379.05


                                                              Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                              APR                      Balance Subject To               Interest Charge    Remaining
                                                                  %                          Interest Rate                                     Balance
Purchases                                                         9.99% (V)                            $0.00                         $0.00           $0.00
Cash Advances                                                     9.99% (V)                            $0.00                         $0.00           $0.00
SPECIAL RATE   PURCHASES                                          7.49%                            $1,071.69                         $6.69         $974.34
BALANCE TRANSFER CASH                                             4.99%                            $6,547.93                        $27.23       $6,575.16
BALANCE TRANSFER CASH                                             4.99%                            $4,577.09                        $19.04       $4,596.13
Days in Billing Cycle: 30                                        (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before the
payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash advances
and balance transfers continue to accrue interest charges until paid in full.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 36 of 105 PageID #:1263
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 37 of 105 PageID #:1264
          6486             LWG          1       7   18     130818   0             PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     08/18/2013                                                             Previous Balance                                          $12,145.63
          Credit Limit                                               $13,500.00                                                       -     Payments                                                     $243.00
          Available Credit                                              $189.00                                                       -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                      $0.00
          Available Cash                                                $189.00                                                       +     Cash Advances                                              $1,354.00
                                                                                                                                      +     Other Debits                                                   $0.00
                                                                                                                                      +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                              $53.86
                                                                                                                                      =     New Balance                                               $13,310.49


                                                                                              Payment Information
          Payment Due Date: 09/15/2013                                                                                                                                Minimum Payment Due: $266.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...




                                                                                                                                                                                                                           08/2013
                                   Only the minimum payment                         26 Years                           $22,424.00
                                            $429.00                                  3 Years                           $15,442.00
                                                                                                                (Savings = $6,982.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                   08/12                08/12                74306797100XSVPF4                      CR. CARD PAYMENT   ALEXANDRIA VA                                                               $243.00-
                   08/14                08/12                74306797100XSVPV0                      CASH ADVANCE ALEXANDRIA VA                                                                   $1,354.00
                                                                                                      Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                          $0.00
                                                                                                Interest Charges
                   08/18                08/18                                                       Interest Charge on Purchases                                                                       $5.78
                   08/18                08/18                                                       Interest Charge on Cash Advances                                                                  $48.08

                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                              September
                   PO BOX 456                                                                                                                                                                S M       T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                         1    2    3   4   5   6   7
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             8    9 10 11 12 13 14
                                                                                                                      New Balance                       $13,310.49                           15 16 17 18 19 20 21
                                                                                                                                                                                             22 23 24 25 26 27 28
                                                                                                                  Minimum Payment Due                       $266.00                          29 30
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              TDTTFTATDAATAFTFFFDDFTAFTAATDAATAFTADFDTDADFTADDATAATFFFDTDDAFFAT                                           TFTTDADDATTFDDFFTTAAATTTTDDDTFDFFAFAADTFAFTDDTAAFAFFDFFDADTFTTATA



                                                                                                                                    02678
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 38 of 105 PageID #:1265
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 39 of 105 PageID #:1266
6486          LWG        1     7   18   130818   0          PAGE 2 of 2          1 0    5752   3000     JZKB   O1AI6486


              Cardholder Name                              Account Number                                                                     Page 2 of 2
               MICHAEL J WOOD                            XXXX-XXXX-XXXX-0267


                                                                   Transactions (continued)
       Post Date      Trans Date                 Reference                                            Description                             Amount
                                                                          TOTAL INTEREST FOR THIS PERIOD                                         $53.86
                                                                  2013 Totals Year-to-Date
                                           Total fees charged in 2013                                               $0.00
                                           Total interest charged in 2013                                         $432.91


                                                               Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                               APR                      Balance Subject To               Interest Charge   Remaining
                                                                   %                          Interest Rate                                    Balance
Purchases                                                          9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                      9.99% (V)                          $218.38                         $1.81      $1,355.81
SPECIAL RATE   PURCHASES                                           7.49%                              $924.73                         $5.78        $783.39
BALANCE TRANSFER CASH                                              4.99%                            $6,547.93                        $27.23      $6,575.16
BALANCE TRANSFER CASH                                              4.99%                            $4,577.09                        $19.04      $4,596.13
Days in Billing Cycle: 31                                         (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before the
payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash advances
and balance transfers continue to accrue interest charges until paid in full.

                                                                      Notes Of Interest
                                                     Don't carry high-rate balances on credit cards with
                                                      other financial institutions! Transfer them to your
                                                     PenFed card with an offer that is truly hard to beat.
                                                     See the enclosed insert for complete details or visit
                                                                 us online at PenFed.org/Xfr.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 40 of 105 PageID #:1267
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 41 of 105 PageID #:1268
          6486             JAH          1       7   18     130918   0             PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     09/18/2013                                                             Previous Balance                                          $13,310.49
          Credit Limit                                               $13,500.00                                                       -     Payments                                                     $266.00
          Available Credit                                              $227.00                                                       -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                    $137.79
          Available Cash                                                $227.00                                                       +     Cash Advances                                                  $0.00
                                                                                                                                      +     Other Debits                                                   $0.00
                                                                                                                                      +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                              $89.85
                                                                                                                                      =     New Balance                                               $13,272.13

                                                                                             Payment Information
          Payment Due Date: 10/15/2013                                                                                                                                Minimum Payment Due: $265.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $22,388.00
                                            $428.00                                  3 Years                           $15,396.00
                                                                                                                (Savings = $6,992.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.




                                                                                                                                                                                                                          09/2013
                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                   08/29                08/29                24692167H00PQX10G                      COMCAST CHICAGO         800-COMCAST IL                                                         $81.66
                   09/02                08/30                 24019517K72E30A24                     UNIQUE THRIFT STORE CHICAGO IL                                                                 $32.48
                   09/02                08/30                24071057L4K8D8RNP                      JIMMY JOHN'S # 1276 CHICAGO IL                                                                 $23.65
                   09/12                09/12                 74306798000XV5680                     CR. CARD PAYMENT       ALEXANDRIA VA                                                          $266.00-
                                                                                                       Fees
                                                                                                    TOTAL FEES FOR THIS PERIOD                                                                        $0.00



                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                               October
                   PO BOX 456                                                                                                                                                                S M      T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                                  1   2   3   4   5
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             6    7   8   9 10 11 12
                                                                                                                      New Balance                       $13,272.13                           13 14 15 16 17 18 19
                                                                                                                                                                                             20 21 22 23 24 25 26
                                                                                                                  Minimum Payment Due                       $265.00                          27 28 29 30 31
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              TTATDTDADDTAAFDFDTTFFATATFDTFFAFAFFADAAATTDATAFDTFAFTTAFADTFTDAAD                                           ADTFFDDADDDFFFTTDTTDDDAAFFFTDTAFTDDDDTDATTAFTDDTAATDAADAAFADDDTFD



                                                                                                                                    02678
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 42 of 105 PageID #:1269
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 43 of 105 PageID #:1270
6486             JAH       1       7   18   130918   0         PAGE 2 of 2          1 0    5752   3000     JZKB   O1AI6486


                 Cardholder Name                              Account Number                                                                     Page 2 of 2
                 MICHAEL J WOOD                             XXXX-XXXX-XXXX-0267


                                                                      Transactions (continued)
       Post Date        Trans Date                   Reference                                           Description                             Amount
                                                                             Interest Charges
         09/18             09/18                                               Interest Charge on Purchases                                          $5.39
         09/18             09/18                                               Interest Charge on Cash Advances                                     $84.46
                                                                               TOTAL INTEREST FOR THIS PERIOD                                       $89.85
                                                                      2013 Totals Year-to-Date
                                               Total fees charged in 2013                                              $0.00
                                               Total interest charged in 2013                                        $522.76


                                                                  Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                       Type of Balance                               APR                      Balance Subject To               Interest Charge   Remaining
                                                                      %                          Interest Rate                                    Balance
Purchases                                                             9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                         9.99% (V)                        $7,854.02                        $65.42      $7,755.21
SPECIAL RATE   PURCHASES                                              7.49%                              $863.70                         $5.39        $920.79
BALANCE TRANSFER CASH                                                 4.99%                            $4,577.09                        $19.04      $4,596.13
Days in Billing Cycle: 31                                            (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.

                                                                         Notes Of Interest
                                                         Don't carry high-rate balances on credit cards with
                                                          other financial institutions! Transfer them to your
                                                         PenFed card with an offer that is truly hard to beat.
                                                              For complete details visit PenFed.org/Xfr.
                                                Save money on your vehicle purchase with PenFed's Car Buying
                                                 Service! When you use our service you get a low, online-only
                                                  car loan rate, big savings off the MSRP, a guaranteed price
                                                  in writing, and more! Plus, right now get special incentives
                                                    on select Mercedes-Benz vehicles. For complete details
                                                                  visit PenFed.org/CarBuying.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 44 of 105 PageID #:1271
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 45 of 105 PageID #:1272
          6486             JAH          1       7   18     131018   0           O PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     10/18/2013                                                             Previous Balance                                          $13,272.13
          Credit Limit                                               $13,500.00                                                       -     Payments                                                     $265.07
          Available Credit                                               NONE                                                         -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                    $343.89
          Available Cash                                                  $0.00                                                       +     Cash Advances                                                $227.00
          Amount Over Credit Limit                                      $186.16                                                       +     Other Debits                                                   $0.00
                                                                                                                                      +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                             $108.21
                                                                                                                                      =     New Balance                                               $13,686.16

                                                                                             Payment Information
          Payment Due Date: 11/15/2013                                                                                                                                Minimum Payment Due: $274.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $23,095.00
                                            $441.00                                  3 Years                           $15,871.00
                                                                                                                (Savings = $7,224.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                   10/10                10/10                74306798W00XVDPMS                      CR. CARD PAYMENT   ALEXANDRIA VA                                                              $227.07-
                   10/12                10/12                74306798Y00XVEB4M                      CR. CARD PAYMENT   ALEXANDRIA VA                                                               $38.00-




                                                                                                                                                                                                                          10/2013
                   10/13                10/10                74306798W00XVDR0Q                      CASH ADVANCE ALEXANDRIA VA                                                                    $227.00
                   10/13                10/10                 24493988X028VLPDP                     AT&T*BILL PAYMENT  800-288-2020 TX                                                             $15.88
                   10/13                10/12                 24692168X00E2ZBST                     PEAPOD *GROCERIES   800-5PEAPOD IL                                                            $177.66
                   10/14                10/11                24492158YRNPDDYN3                      GRUBHUB FOOD ORDER    877-585-7878 IL                                                          $38.19
                   10/14                10/13                24828248YWGNJ0L46                      STRONGVPN.COM/RELIABLEHOS877-402-9532 NV                                                       $55.00


                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                              November
                   PO BOX 456                                                                                                                                                                S M      T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                                              1   2
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             3    4   5   6   7   8   9
                                                                                                                      New Balance                       $13,686.16                           10 11 12 13 14 15 16
                                                                                                                                                                                             17 18 19 20 21 22 23
                                                                                                                  Minimum Payment Due                       $274.00                          24 25 26 27 28 29 30
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              DAFFAFDTATDATTTATTADTAATDDADFTDFFADFFFFFTFFTFTTADFFDDDATATFDATADA                                           AFAFDTTTDTDDTFDFFTDFFDTDFFAAFFFFATADDDTDTATADDFFTATAAFFTTAFAFTDFT



                                                                                                                                    02674
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 46 of 105 PageID #:1273
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 47 of 105 PageID #:1274
6486             JAH       1       7   18   131018    0        O PAGE 2 of 2          1 0    5752   3000     JZKB   O1AI6486


                 Cardholder Name                                Account Number                                                                     Page 2 of 2
                 MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                        Transactions (continued)
       Post Date        Trans Date                    Reference                                            Description                             Amount
         10/17             10/14             244921591RNZF4MAK                   GRUBHUB FOOD ORDER      877-585-7878 IL                              $38.71
         10/17             10/15             241640791V8XDWSJR                   CHICAGO KENT C71248629 CHICAGO IL                                     $9.55
         10/17             10/16             24692169100TF3WBT                   STARBUCKS #00238 CHICAGO Chicago IL                                   $8.90
                                                                                   Fees
                                                                                  TOTAL FEES FOR THIS PERIOD                                           $0.00
                                                                               Interest Charges
         10/18             10/18                                                 Interest Charge on Purchases                                          $6.07
         10/18             10/18                                                 Interest Charge on Cash Advances                                    $102.14
                                                                                 TOTAL INTEREST FOR THIS PERIOD                                      $108.21
                                                                      2013 Totals Year-to-Date
                                               Total fees charged in 2013                                                $0.00
                                               Total interest charged in 2013                                          $630.97


                                                                    Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                       Type of Balance                                 APR                      Balance Subject To               Interest Charge   Remaining
                                                                        %                          Interest Rate                                    Balance
Purchases                                                               9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                           9.99% (V)                       $12,262.24                       $102.14     $12,420.80
SPECIAL RATE           PURCHASES                                        7.49%                              $973.45                         $6.07      $1,265.36
Days in Billing Cycle: 30                                              (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.

                                                                           Notes Of Interest
                                                          Don't carry high-rate balances on credit cards with
                                                           other financial institutions! Transfer them to your
                                                          PenFed card with an offer that is truly hard to beat.
                                                             For complete details please visit us online at
                                                                  PenFed.org/Xfr or call 800-247-5626.
                                                     Save money on your vehicle purchase with PenFed's Car Buying
                                                       Service! When you use our service you get a low, online-only
                                                        car loan rate, big savings off the MSRP, a guaranteed price
                                                         in writing, and more! Plus, right now get special incentives
                                                     on select Mercedes-Benz vehicles. Go to PenFed.org/CarBuying.
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4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 49 of 105 PageID #:1276
          6486           JAH           1       7   18     131118   0           O PAGE 1 of 3               1 0    5752     3000   JZKB    O1AI6486


                                                                                    Cardholder Name                               Account Number                                                Page 1 of 3
                                                                                     MICHAEL J WOOD                           XXXX-XXXX-XXXX-0267


                                                                                                                            You are a valued member!
                                                                                                                           Thank you for allowing us the
                                                                                                                             opportunity to serve you.




                               Account Information                                                                                                          Account Summary
          Statement Closing Date                                    11/18/2013                                                           Previous Balance                                            $13,686.16
          Credit Limit                                              $13,500.00                                                      -    Payments                                                       $274.00
          Available Credit                                              NONE                                                        -    Other Credits                                                    $0.00
          Cash Credit Limit                                         $13,500.00                                                      +    Purchases                                                      $624.07
          Available Cash                                                 $0.00                                                      +    Cash Advances                                                    $0.00
          Amount Over Credit Limit                                     $648.06                                                      +    Other Debits                                                     $0.00
                                                                                                                                    +    Fees Charged                                                     $0.00
                                                                                                                                    +    Interest Charged                                               $111.83
                                                                                                                                    =    New Balance                                                 $14,148.06

                                                                                            Payment Information
          Payment Due Date: 12/15/2013                                                                                                                               Minimum Payment Due: $648.06
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $23,873.00
                                            $456.00                                  3 Years                           $16,398.00
                                                                                                                (Savings = $7,475.00)




                                                                                                                                                                                                                         11/2013
                                                        If you would like information about credit counseling services, call 1-866-685-6322.


                 Remit Payment to:                                                   Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                 PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                  ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                We appreciate your membership!
                            Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                             December
                   PO BOX 456                                                                                                                                                               S M      T W T       F   S
                                                                                                                   Account Number              XXXX-XXXX-XXXX-0267                          1    2   3   4   5   6   7
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                            8    9 10 11 12 13 14
                                                                                                                     New Balance                       $14,148.06                           15 16 17 18 19 20 21
                                                                                                                                                                                            22 23 24 25 26 27 28
                                                                                                                 Minimum Payment Due                       $648.06                          29 30 31
          Make Payment Payable to PENFED




                                                                                                                         MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                        4555 N KOSTNER AVE
              PO BOX 247080                                                                                              CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              DTFDDADTDFDAAADFDTAFFATTDFADFFDATFFDDTAATTFTATATTFFFATDAADDAADATF                                          DATFTTFDFTFFAFFADDTADATADAAATFFDTFFDTFAFFAFFTTFDATAFTDDAFTFATFAFT



                                                                                                                                  02677
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 50 of 105 PageID #:1277
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 51 of 105 PageID #:1278
6486             JAH       1       7   18   131118   0      O PAGE 2 of 3          1 0    5752   3000     JZKB   O1AI6486


                 Cardholder Name                             Account Number                                                                     Page 2 of 3
                 MICHAEL J WOOD                            XXXX-XXXX-XXXX-0267


                                                                             Transactions
       Post Date        Trans Date                   Reference                                          Description                             Amount
         10/20             10/16              244921593RP4PVV7V               GRUBHUB FOOD ORDER       877-585-7878 IL                             $36.04
         10/23             10/21             244921597RPHWMN6N                GRUBHUB FOOD ORDER       877-585-7878 IL                             $45.24
         10/25             10/24              24224439A2ZY1H98E               FAMILY FRUIT MARKE CHICAGO IL                                        $90.71
         10/27             10/25               24013399B01H8ZAJ5              MANNYS COFFEE SHOP INC CHICAGO IL                                    $33.59
         10/27             10/25             24431059B5ZXWSVPP                PARKING METER ZONE 1 CHICAGO IL                                       $2.00
         11/12             11/11              24493989W0288EQG4               AT&T*BILL PAYMENT    800-288-2020 TX                                $209.76
         11/12             11/11              24692169V001VJNK1               PEAPOD *GROCERIES      800-5PEAPOD IL                               $206.73
         11/12             11/12              74306799X00XST9Q5               CR. CARD PAYMENT     ALEXANDRIA VA                                  $274.00-
                                                                                Fees
                                                                               TOTAL FEES FOR THIS PERIOD                                           $0.00
                                                                            Interest Charges
         11/18             11/18                                              Interest Charge on Purchases                                          $9.52
         11/18             11/18                                              Interest Charge on Cash Advances                                    $102.31
                                                                              TOTAL INTEREST FOR THIS PERIOD                                      $111.83
                                                                      2013 Totals Year-to-Date
                                               Total fees charged in 2013                                             $0.00
                                               Total interest charged in 2013                                       $742.80


                                                                 Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                       Type of Balance                              APR                      Balance Subject To               Interest Charge   Remaining
                                                                     %                          Interest Rate                                    Balance
Purchases                                                            9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                        9.99% (V)                       $12,281.22                       $102.31     $12,255.18
SPECIAL RATE           PURCHASES                                     7.49%                            $1,527.17                         $9.52      $1,892.88
Days in Billing Cycle: 31                                           (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.
       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 52 of 105 PageID #:1279
6486    JAH    1   7   18   131118    0        O PAGE 3 of 3       1 0   5752   3000   JZKB   O1AI6486


                                                                                                         Page 3 of 3
                                                           Notes Of Interest
                                      Important Notice: Your credit card annual account summary
                                     is not a document that is automatically generated and mailed
                                     to you. Please request a copy online at PenFed.org/Summary
                                            or call 800-247-5626 if this a document you need.
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 53 of 105 PageID #:1280
          6486           JAH           1       7   18     131218   0           O PAGE 1 of 2               1 0    5752     3000   JZKB    O1AI6486


                                                                                    Cardholder Name                               Account Number                                                Page 1 of 2
                                                                                     MICHAEL J WOOD                           XXXX-XXXX-XXXX-0267


                                                                                                                            You are a valued member!
                                                                                                                           Thank you for allowing us the
                                                                                                                             opportunity to serve you.




                               Account Information                                                                                                          Account Summary
          Statement Closing Date                                    12/18/2013                                                           Previous Balance                                            $14,148.06
          Credit Limit                                              $13,500.00                                                      -    Payments                                                       $283.00
          Available Credit                                              NONE                                                        -    Other Credits                                                    $0.00
          Cash Credit Limit                                         $13,500.00                                                      +    Purchases                                                      $404.86
          Available Cash                                                 $0.00                                                      +    Cash Advances                                                    $0.00
          Amount Over Credit Limit                                     $884.02                                                      +    Other Debits                                                     $0.00
                                                                                                                                    +    Fees Charged                                                     $0.00
                                                                                                                                    +    Interest Charged                                               $114.10
                                                                                                                                    =    New Balance                                                 $14,384.02

                                                                                            Payment Information
          Payment Due Date: 01/15/2014                                                                                                                               Minimum Payment Due: $884.02
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $24,272.00
                                            $463.00                                  3 Years                           $16,669.00
                                                                                                                (Savings = $7,603.00)
                                                        If you would like information about credit counseling services, call 1-866-685-6322.


                 Remit Payment to:                                                   Mail Inquiries To:                                                             Questions?




                                                                                                                                                                                                                         12/2013
                 PENFED CREDIT UNION                                                 PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                  ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                We appreciate your membership!
                            Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                              January
                   PO BOX 456                                                                                                                                                               S M      T W T       F   S
                                                                                                                   Account Number              XXXX-XXXX-XXXX-0267                                       1   2   3   4
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                            5    6   7   8   9 10 11
                                                                                                                     New Balance                       $14,384.02                           12 13 14 15 16 17 18
                                                                                                                                                                                            19 20 21 22 23 24 25
                                                                                                                 Minimum Payment Due                       $884.02                          26 27 28 29 30 31
          Make Payment Payable to PENFED




                                                                                                                         MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                        4555 N KOSTNER AVE
              PO BOX 247080                                                                                              CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              ATDAFTTFAATTFTAFATDTAAAFADAATAAAFDTAADFTAFDFTDDTFATAFDDFTAFDFDFFT                                          AADFFTFADDFFAFTTDFTDDAATFAAADAFDADDFDDFFDTDFTDDTADTFTTFAFFATFFAFF



                                                                                                                                  02677
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 54 of 105 PageID #:1281
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 55 of 105 PageID #:1282
6486             JAH       1       7   18   131218   0      O PAGE 2 of 2          1 0    5752   3000     JZKB    O1AI6486


                 Cardholder Name                             Account Number                                                                      Page 2 of 2
                 MICHAEL J WOOD                            XXXX-XXXX-XXXX-0267


                                                                             Transactions
       Post Date        Trans Date                   Reference                                          Description                              Amount
         11/25             11/24               2469216A800697B4K              PEAPOD *GROCERIES                   800-5PEAPOD IL                   $176.48
         12/08             12/07              2469216AM00TAZW1L               PEAPOD *GROCERIES                   800-5PEAPOD IL                   $228.38
         12/13             12/13              7430679AV00XV2EB3               CR. CARD PAYMENT                   ALEXANDRIA VA                     $283.00-
                                                                                Fees
                                                                               TOTAL FEES FOR THIS PERIOD                                            $0.00
                                                                            Interest Charges
         12/18             12/18                                              Interest Charge on Purchases                                          $13.15
         12/18             12/18                                              Interest Charge on Cash Advances                                     $100.95
                                                                              TOTAL INTEREST FOR THIS PERIOD                                       $114.10
                                                                      2013 Totals Year-to-Date
                                               Total fees charged in 2013                                              $0.00
                                               Total interest charged in 2013                                        $856.90


                                                                 Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                       Type of Balance                              APR                      Balance Subject To                Interest Charge   Remaining
                                                                     %                          Interest Rate                                     Balance
Purchases                                                            9.99% (V)                            $0.00                          $0.00          $0.00
Cash Advances                                                        9.99% (V)                       $12,118.63                        $100.95     $12,082.65
SPECIAL RATE           PURCHASES                                     7.49%                            $2,108.28                         $13.15      $2,301.37
Days in Billing Cycle: 30                                           (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 56 of 105 PageID #:1283
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 57 of 105 PageID #:1284
          6486           JAH           1       7   18     140117   0           X PAGE 1 of 2               1 0    5752     3000   JZKB    O1AI6486




                                                                                                                                                                                                                         01/2014
                                                                                    Cardholder Name                               Account Number                                                Page 1 of 2
                                                                                     MICHAEL J WOOD                           XXXX-XXXX-XXXX-0267


                                                                                                                            You are a valued member!
                                                                                                                           Thank you for allowing us the
                                                                                                                             opportunity to serve you.




                               Account Information                                                                                                          Account Summary
          Statement Closing Date                                    01/18/2014                                                           Previous Balance                                            $14,384.02
          Credit Limit                                              $13,500.00                                                      -    Payments                                                         $0.00
          Available Credit                                              NONE                                                        -    Other Credits                                                    $0.00
          Cash Credit Limit                                         $13,500.00                                                      +    Purchases                                                        $0.00
          Available Cash                                                 $0.00                                                      +    Cash Advances                                                    $0.00
          Past Due Amount                                              $288.00                                                      +    Other Debits                                                     $0.00
          Amount Over Credit Limit                                     $998.10                                                      +    Fees Charged                                                     $0.00
                                                                                                                                    +    Interest Charged                                               $114.08
                                                                                                                                    =    New Balance                                                 $14,498.10

                                                                                            Payment Information
          Payment Due Date: 02/15/2014                                                                                                                               Minimum Payment Due: $998.10
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $24,272.00
                                            $467.00                                  3 Years                           $16,805.00
                                                                                                                (Savings = $7,467.00)
                                                        If you would like information about credit counseling services, call 1-866-685-6322.


                 Remit Payment to:                                                   Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                 PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                  ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                We appreciate your membership!
                            Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                              February
                   PO BOX 456                                                                                                                                                               S M      T W T       F   S
                                                                                                                   Account Number              XXXX-XXXX-XXXX-0267                                                   1
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                            2    3   4   5   6   7   8
                                                                                                                     New Balance                       $14,498.10                           9 10 11 12 13 14 15
                                                                                                                                                                                            16 17 18 19 20 21 22
                                                                                                                 Minimum Payment Due                       $998.10                          23 24 25 26 27 28
          Make Payment Payable to PENFED




                                                                                                                         MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                        4555 N KOSTNER AVE
              PO BOX 247080                                                                                              CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              ATTDAFTDDADTAFAFFAATDAAFFFDFTADAATTFTTFTAADDTFTDAFDTTDFTTFDDFDDTA                                          FFDAFADAFDTFAFTADAADDDFAAFTDDADFTDDADDDFTTFDTDTTAADFAADFAFFTFDTDF



                                                                                                                                  02679
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 58 of 105 PageID #:1285
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 59 of 105 PageID #:1286
6486             JAH       1       7   18   140117    0        X PAGE 2 of 2          1 0    5752   3000     JZKB   O1AI6486


                 Cardholder Name                               Account Number                                                                      Page 2 of 2
                 MICHAEL J WOOD                              XXXX-XXXX-XXXX-0267


                                                                                Transactions
       Post Date        Trans Date                    Reference                                            Description                             Amount
                                                                                   Fees
                                                                                  TOTAL FEES FOR THIS PERIOD                                           $0.00
                                                                               Interest Charges
         01/18             01/18                                        Interest Charge on Purchases                                                  $14.27
         01/18             01/18                                        Interest Charge on Cash Advances                                              $99.81
                                                                        TOTAL INTEREST FOR THIS PERIOD                                               $114.08
                                                        YOUR ACCOUNT IS PAST DUE. PLEASE REMIT THE
                                                     "MINIMUM PAYMENT DUE" SO YOUR ACCOUNT REMAINS
                                                         CURRENT. FOR ASSISTANCE, CALL 800-247-5626.
                                                                      2014 Totals Year-to-Date
                                               Total fees charged in 2014                                                $0.00
                                               Total interest charged in 2014                                          $114.08


                                                                    Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                       Type of Balance                                 APR                      Balance Subject To               Interest Charge   Remaining
                                                                        %                          Interest Rate                                    Balance
Purchases                                                               9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                           9.99% (V)                       $11,981.70                        $99.81     $12,182.46
SPECIAL RATE           PURCHASES                                        7.49%                            $2,288.22                        $14.27      $2,315.64
Days in Billing Cycle: 31                                              (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.

                                                                           Notes Of Interest
                                                     Make secure monthly payments on time every month & con-
                                                         solidate many bills onto one statement. Step 1: Contact
                                                      companies that send a monthly bill--such as phone & cable.
                                                      Step 2: Provide your PenFed credit card number & arrange
                                                     an automatic monthly payment. Step 3: Enjoy your free time!
                                                     It's easy, secure, & automatic. Contact your providers today.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 60 of 105 PageID #:1287
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 61 of 105 PageID #:1288
          6486           JAH           1       7   18     140218   0           X PAGE 1 of 3               1 0    5752     3000   JZKB    O1AI6486


                                                                                    Cardholder Name                               Account Number                                                Page 1 of 3
                                                                                     MICHAEL J WOOD                           XXXX-XXXX-XXXX-0267




                                                                                                                                                                                                                         02/2014
                                                                                                                            You are a valued member!
                                                                                                                           Thank you for allowing us the
                                                                                                                             opportunity to serve you.




                               Account Information                                                                                                          Account Summary
          Statement Closing Date                                    02/18/2014                                                           Previous Balance                                            $14,498.10
          Credit Limit                                              $13,500.00                                                      -    Payments                                                         $0.00
          Available Credit                                              NONE                                                        -    Other Credits                                                    $0.00
          Cash Credit Limit                                         $13,500.00                                                      +    Purchases                                                       $27.71
          Available Cash                                                 $0.00                                                      +    Cash Advances                                                    $0.00
          Past Due Amount                                              $578.00                                                      +    Other Debits                                                     $0.00
          Amount Over Credit Limit                                   $1,139.97                                                      +    Fees Charged                                                     $0.00
                                                                                                                                    +    Interest Charged                                               $114.16
                                                                                                                                    =    New Balance                                                 $14,639.97

                                                                                            Payment Information
          Payment Due Date: 03/15/2014                                                                                                                             Minimum Payment Due: $1,139.97
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $24,316.00
                                            $472.00                                  3 Years                           $16,974.00
                                                                                                                (Savings = $7,342.00)
                                                        If you would like information about credit counseling services, call 1-866-685-6322.


                 Remit Payment to:                                                   Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                 PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                  ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                We appreciate your membership!
                            Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                              March
                   PO BOX 456                                                                                                                                                               S M      T W T       F   S
                                                                                                                   Account Number              XXXX-XXXX-XXXX-0267                                                   1
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                            2    3   4   5   6   7   8
                                                                                                                     New Balance                       $14,639.97                           9 10 11 12 13 14 15
                                                                                                                                                                                            16 17 18 19 20 21 22
                                                                                                                 Minimum Payment Due                     $1,139.97                          23 24 25 26 27 28 29
          Make Payment Payable to PENFED
                                                                                                                                                                                            30 31




                                                                                                                         MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                        4555 N KOSTNER AVE
              PO BOX 247080                                                                                              CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              ADTTADADFAATFFADFDTTDDFFAADATAATTTTTTTDTFADFADDDADTTTFDDDADDFFFAT                                          FTFDTDATAAFDDDDFAFDFAFDDFTDTFDFTDTAFFDATDFTAFFFFDDTTFDATDATADAFAA



                                                                                                                                  02672
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 62 of 105 PageID #:1289
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 63 of 105 PageID #:1290
6486             JAH       1       7   18   140218   0        X PAGE 2 of 3          1 0    5752   3000     JZKB   O1AI6486


                 Cardholder Name                              Account Number                                                                      Page 2 of 3
                 MICHAEL J WOOD                             XXXX-XXXX-XXXX-0267


                                                                               Transactions
       Post Date        Trans Date                   Reference                                            Description                             Amount
         02/05             02/04              2469216DK00V8SX9A                 PEAPOD *GROCERIES                  800-5PEAPOD IL                    $27.71
                                                                                  Fees
                                                                                 TOTAL FEES FOR THIS PERIOD                                           $0.00
                                                                              Interest Charges
         02/18             02/18                                        Interest Charge on Purchases                                                 $14.35
         02/18             02/18                                        Interest Charge on Cash Advances                                             $99.81
                                                                        TOTAL INTEREST FOR THIS PERIOD                                              $114.16
                                                      YOUR CHARGE PRIVILEGES HAVE BEEN SUSPENDED.
                                                       REMIT THE "MINIMUM PAYMENT DUE" TODAY. FOR
                                                               ASSISTANCE CALL 800-247-5626
                                                                      2014 Totals Year-to-Date
                                               Total fees charged in 2014                                               $0.00
                                               Total interest charged in 2014                                         $228.24


                                                                   Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                       Type of Balance                                APR                      Balance Subject To               Interest Charge   Remaining
                                                                       %                          Interest Rate                                    Balance
Purchases                                                              9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                          9.99% (V)                       $11,981.70                        $99.81     $12,282.27
SPECIAL RATE           PURCHASES                                       7.49%                            $2,300.73                        $14.35      $2,357.70
Days in Billing Cycle: 31                                             (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.

                                                                          Notes Of Interest
                                                         Take the hassle out of paying taxes. Use your PenFed
                                                        credit card to pay your federal, state & property taxes.
                                                     It's easy and secure. Certain fees & restrictions may apply.
                                                     Get started today! Visit PayUSATax.com, PAY1040.com, or
                                                                         officialpayments.com
       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 64 of 105 PageID #:1291
6486    JAH    1   7   18   140218   0   X PAGE 3 of 3   1 0   5752   3000   JZKB   O1AI6486


                                                                                               Page 3 of 3
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 65 of 105 PageID #:1292
          6486             JAH          1       7   18     140318   0         E X PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.




                                                                                                                                                                                                                          03/2014
                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     03/18/2014                                                             Previous Balance                                          $14,639.97
          Credit Limit                                               $13,500.00                                                       -     Payments                                                       $0.00
          Available Credit                                               NONE                                                         -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                      $0.00
          Available Cash                                                  $0.00                                                       +     Cash Advances                                                  $0.00
          Past Due Amount                                               $871.00                                                       +     Other Debits                                                   $0.00
          Amount Over Credit Limit                                    $1,254.22                                                       +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                             $114.25
                                                                                                                                      =     New Balance                                               $14,754.22

                                                                                             Payment Information
          Payment Due Date: 04/15/2014                                                                                                                              Minimum Payment Due: $1,254.22
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $24,309.00
                                            $475.00                                  3 Years                           $17,111.00
                                                                                                                (Savings = $7,198.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                                                                                                         Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                         $0.00
                                                                                                Interest Charges
                   03/18                03/18                                                       Interest Charge on Purchases                                                                   $14.45
                   03/18                03/18                                                       Interest Charge on Cash Advances                                                               $99.80
                                                                                                    TOTAL INTEREST FOR THIS PERIOD                                                                $114.25



                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                                April
                   PO BOX 456                                                                                                                                                                S M      T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                                  1   2   3   4   5
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             6    7   8   9 10 11 12
                                                                                                                      New Balance                       $14,754.22                           13 14 15 16 17 18 19
                                                                                                                                                                                             20 21 22 23 24 25 26
                                                                                                                  Minimum Payment Due                     $1,254.22                          27 28 29 30
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              DAFDTADTDDDFTFDTDAFFFFTTDFTDFDTATFFFDAAFTTDTDTAFTFFFATDAATTATTATD                                           TFDTFADFAFTAFDATTAATTTATTDAFTATFDFDAATDFADADAATTFAFFFADFADDTADTTF



                                                                                                                                    02672
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 66 of 105 PageID #:1293
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 67 of 105 PageID #:1294
6486          JAH       1     7   18   140318   0     E X PAGE 2 of 2          1 0    5752   3000   JZKB   O1AI6486


              Cardholder Name                           Account Number                                                                    Page 2 of 2
               MICHAEL J WOOD                         XXXX-XXXX-XXXX-0267


                                                              Transactions (continued)
       Post Date     Trans Date                 Reference                              Description                                        Amount
                                                 YOUR CREDIT HISTORY IS BEING REPORTED TO THE
                                                CREDIT BUREAU. REMIT THE "MINIMUM PAYMENT DUE"
                                                OR CALL 800-247-5626 FOR PAYMENT ARRANGEMENTS.
                                                                 2014 Totals Year-to-Date
                                          Total fees charged in 2014                                            $0.00
                                          Total interest charged in 2014                                      $342.49


                                                             Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                             APR                      Balance Subject To             Interest Charge   Remaining
                                                                 %                          Interest Rate                                  Balance
Purchases                                                        9.99% (V)                            $0.00                       $0.00          $0.00
Cash Advances                                                    9.99% (V)                       $11,981.70                      $99.80     $12,382.07
SPECIAL RATE        PURCHASES                                    7.49%                            $2,315.93                      $14.45      $2,372.15
Days in Billing Cycle: 28                                       (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 68 of 105 PageID #:1295
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 69 of 105 PageID #:1296
          6486             JAH          1       7   18     140418   0         E X PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     04/18/2014                                                             Previous Balance                                          $14,754.22
          Credit Limit                                               $13,500.00                                                       -     Payments                                                       $0.00




                                                                                                                                                                                                                          04/2014
          Available Credit                                               NONE                                                         -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                      $0.00
          Available Cash                                                  $0.00                                                       +     Cash Advances                                                  $0.00
          Past Due Amount                                             $1,166.00                                                       +     Other Debits                                                   $0.00
          Amount Over Credit Limit                                    $1,368.47                                                       +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                             $114.25
                                                                                                                                      =     New Balance                                               $14,868.47

                                                                                             Payment Information
          Payment Due Date: 05/15/2014                                                                                                                              Minimum Payment Due: $1,463.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $24,300.00
                                            $479.00                                  3 Years                           $17,249.00
                                                                                                                (Savings = $7,051.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                                                                                                         Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                         $0.00
                                                                                                Interest Charges
                   04/18                04/18                                                       Interest Charge on Purchases                                                                   $14.45
                   04/18                04/18                                                       Interest Charge on Cash Advances                                                               $99.80
                                                                                                    TOTAL INTEREST FOR THIS PERIOD                                                                $114.25



                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                                May
                   PO BOX 456                                                                                                                                                                S M      T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                                          1   2   3
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             4    5   6   7   8   9 10
                                                                                                                      New Balance                       $14,868.47                           11 12 13 14 15 16 17
                                                                                                                                                                                             18 19 20 21 22 23 24
                                                                                                                  Minimum Payment Due                     $1,463.00                          25 26 27 28 29 30 31
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              DFDTDDAADDADDADAFFTFDDTDTAATDDFDTAATDFTDDTTFDAFFADATTAADDDDATAFAD                                           AADADAFADAAADADFDDAFFFTAAAFDDFDDATFADDAFDATDDDAFATDFADTDFFFFDATDA



                                                                                                                                    02670
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 70 of 105 PageID #:1297
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 71 of 105 PageID #:1298
6486          JAH       1     7   18   140418    0     E X PAGE 2 of 2          1 0    5752   3000   JZKB   O1AI6486


              Cardholder Name                            Account Number                                                                    Page 2 of 2
               MICHAEL J WOOD                          XXXX-XXXX-XXXX-0267


                                                                Transactions (continued)
       Post Date     Trans Date                  Reference                               Description                                       Amount
                                                PAYMENT ARRANGEMENTS MUST BE MADE IMMEDIATELY.
                                                 CALL 800-247-5626 TO PREVENT FURTHER COLLECTION
                                                             ACTIVITY ON YOUR ACCOUNT.
                                                                 2014 Totals Year-to-Date
                                          Total fees charged in 2014                                             $0.00
                                          Total interest charged in 2014                                       $456.74


                                                              Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                              APR                      Balance Subject To             Interest Charge   Remaining
                                                                  %                          Interest Rate                                  Balance
Purchases                                                         9.99% (V)                            $0.00                       $0.00          $0.00
Cash Advances                                                     9.99% (V)                       $11,981.70                      $99.80     $12,481.87
SPECIAL RATE        PURCHASES                                     7.49%                            $2,315.93                      $14.45      $2,386.60
Days in Billing Cycle: 31                                        (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 72 of 105 PageID #:1299
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 73 of 105 PageID #:1300
          6486             JAH          1       7   18     140518   0         E X PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     05/18/2014                                                             Previous Balance                                          $14,868.47
          Credit Limit                                               $13,500.00                                                       -     Payments                                                       $0.00
          Available Credit                                               NONE                                                         -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                      $0.00
          Available Cash                                                  $0.00                                                       +     Cash Advances                                                  $0.00
          Past Due Amount                                             $1,463.00                                                       +     Other Debits                                                   $0.00




                                                                                                                                                                                                                           05/2014
          Amount Over Credit Limit                                    $1,482.72                                                       +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                             $114.25
                                                                                                                                      =     New Balance                                               $14,982.72

                                                                                             Payment Information
          Payment Due Date: 06/15/2014                                                                                                                              Minimum Payment Due: $1,763.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $24,296.00
                                            $483.00                                  3 Years                           $17,387.00
                                                                                                                (Savings = $6,909.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                                                                                                         Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                          $0.00
                                                                                                Interest Charges
                   05/18                05/18                                                       Interest Charge on Purchases                                                                      $14.45
                   05/18                05/18                                                       Interest Charge on Cash Advances                                                                  $99.80




                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                                June
                   PO BOX 456                                                                                                                                                                S M       T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                         1    2    3   4   5   6   7
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             8    9 10 11 12 13 14
                                                                                                                      New Balance                       $14,982.72                           15 16 17 18 19 20 21
                                                                                                                                                                                             22 23 24 25 26 27 28
                                                                                                                  Minimum Payment Due                     $1,763.00                          29 30
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              FDATDDFDFDAAAAFFDFDADDDTAATTAFFTTTFATTTAFTFATDFTTDTDAATDFATFFFAAF                                           DATFATFDFDFFFAATDDDTDFFADAFTTAFDTFDDTAFFFTAFTADTATAFATFAFDADTFTFF



                                                                                                                                    02670
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 74 of 105 PageID #:1301
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 75 of 105 PageID #:1302
6486          JAH       1     7   18   140518   0     E X PAGE 2 of 2          1 0    5752   3000     JZKB   O1AI6486


              Cardholder Name                           Account Number                                                                      Page 2 of 2
               MICHAEL J WOOD                         XXXX-XXXX-XXXX-0267


                                                                 Transactions (continued)
       Post Date     Trans Date                 Reference                                           Description                             Amount
                                                                        TOTAL INTEREST FOR THIS PERIOD                                        $114.25
                                                                 2014 Totals Year-to-Date
                                          Total fees charged in 2014                                              $0.00
                                          Total interest charged in 2014                                        $570.99


                                                             Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                             APR                      Balance Subject To               Interest Charge   Remaining
                                                                 %                          Interest Rate                                    Balance
Purchases                                                        9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                    9.99% (V)                       $11,981.70                        $99.80     $12,581.67
SPECIAL RATE        PURCHASES                                    7.49%                            $2,315.93                        $14.45      $2,401.05
Days in Billing Cycle: 30                                       (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 76 of 105 PageID #:1303
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 77 of 105 PageID #:1304
          6486             JAH          1       7   18     140618   0         E X PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     06/18/2014                                                             Previous Balance                                          $14,982.72
          Credit Limit                                               $13,500.00                                                       -     Payments                                                       $0.00
          Available Credit                                               NONE                                                         -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                      $0.00
          Available Cash                                                  $0.00                                                       +     Cash Advances                                                  $0.00
          Past Due Amount                                             $1,763.00                                                       +     Other Debits                                                   $0.00
          Amount Over Credit Limit                                    $1,596.97                                                       +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                             $114.25
                                                                                                                                      =     New Balance                                               $15,096.97

                                                                                             Payment Information




                                                                                                                                                                                                                           06/2014
          Payment Due Date: 07/15/2014                                                                                                                              Minimum Payment Due: $2,065.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $24,282.00
                                            $487.00                                  3 Years                           $17,524.00
                                                                                                                (Savings = $6,758.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                                                                                                         Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                          $0.00
                                                                                                Interest Charges
                   06/18                06/18                                                       Interest Charge on Purchases                                                                      $14.45
                   06/18                06/18                                                       Interest Charge on Cash Advances                                                                  $99.80




                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                                July
                   PO BOX 456                                                                                                                                                                S M       T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                                   1   2   3   4   5
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             6    7    8   9 10 11 12
                                                                                                                      New Balance                       $15,096.97                           13 14 15 16 17 18 19
                                                                                                                                                                                             20 21 22 23 24 25 26
                                                                                                                  Minimum Payment Due                     $2,065.00                          27 28 29 30 31
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              DDAADDFTADAAATDFTFTFTDTATTTAFFFTFAFAFFTADDTAAAFTDTADDAADFDAATFTFF                                           TADFATFFDFFFTAAFDFDTFFFADAFTTAATTADDTAFFFTFFFADFATAFATFTFTATAAAFF



                                                                                                                                    02674
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 78 of 105 PageID #:1305
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 79 of 105 PageID #:1306
6486          JAH       1     7   18   140618   0     E X PAGE 2 of 2          1 0    5752   3000     JZKB   O1AI6486


              Cardholder Name                           Account Number                                                                      Page 2 of 2
               MICHAEL J WOOD                         XXXX-XXXX-XXXX-0267


                                                                 Transactions (continued)
       Post Date     Trans Date                 Reference                                           Description                             Amount
                                                                        TOTAL INTEREST FOR THIS PERIOD                                        $114.25
                                                                 2014 Totals Year-to-Date
                                          Total fees charged in 2014                                              $0.00
                                          Total interest charged in 2014                                        $685.24


                                                             Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                             APR                      Balance Subject To               Interest Charge   Remaining
                                                                 %                          Interest Rate                                    Balance
Purchases                                                        9.99% (V)                            $0.00                         $0.00          $0.00
Cash Advances                                                    9.99% (V)                       $11,981.70                        $99.80     $12,681.47
SPECIAL RATE        PURCHASES                                    7.49%                            $2,315.93                        $14.45      $2,415.50
Days in Billing Cycle: 31                                       (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 80 of 105 PageID #:1307
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 81 of 105 PageID #:1308
          6486             JAH          1       7   18     140718   0         E X PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                               Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     07/18/2014                                                             Previous Balance                                           $15,096.97
          Credit Limit                                               $13,500.00                                                       -     Payments                                                        $0.00
          Available Credit                                               NONE                                                         -     Other Credits                                                   $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                       $0.00
          Available Cash                                                  $0.00                                                       +     Cash Advances                                                   $0.00
          Past Due Amount                                             $2,065.00                                                       +     Other Debits                                                    $0.00
          Amount Over Credit Limit                                    $1,711.22                                                       +     Fees Charged                                                    $0.00
                                                                                                                                      +     Interest Charged                                              $114.25
                                                                                                                                      =     New Balance                                                $15,211.22

                                                                                             Payment Information
          Payment Due Date: 08/15/2014                                                                                                                              Minimum Payment Due: $2,369.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.




                                                                                                                                                                                                                           07/2014
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $24,273.00
                                            $491.00                                  3 Years                           $17,669.00
                                                                                                                (Savings = $6,604.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                                                                                                         Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                          $0.00
                                                                                                Interest Charges
                   07/18                07/18                                                       Interest Charge on Purchases                                                                    $14.45
                   07/18                07/18                                                       Interest Charge on Cash Advances                                                                $99.80
                                                                                                    TOTAL INTEREST FOR THIS PERIOD                                                                 $114.25



                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                               August
                   PO BOX 456                                                                                                                                                                S M       T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                                               1   2
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             3     4   5   6   7   8   9
                                                                                                                      New Balance                       $15,211.22                           10 11 12 13 14 15 16
                                                                                                                                                                                             17 18 19 20 21 22 23
                                                                                                                  Minimum Payment Due                     $2,369.00                          24 25 26 27 28 29 30
          Make Payment Payable to PENFED
                                                                                                                                                                                             31




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              TADFDFTATDDTDTDAATFFTATDDDAFDDTADAADFFADTDTDDTAFFFFTFTTTTTFFATFDF                                           TFTFTTDDFTDFFFFTDTDADTDTDFTTTFFAAFFDTFTFAATFATFTAAAFTFFAADFATDTFT



                                                                                                                                    02673
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 82 of 105 PageID #:1309
            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 83 of 105 PageID #:1310
6486          JAH       1     7   18   140718   0     E X PAGE 2 of 2          1 0    5752   3000   JZKB   O1AI6486


              Cardholder Name                           Account Number                                                                    Page 2 of 2
               MICHAEL J WOOD                         XXXX-XXXX-XXXX-0267


                                                              Transactions (continued)
       Post Date     Trans Date                  Reference                             Description                                        Amount
                                                YOUR ACCOUNT IS CURRENTLY PAST DUE. IF YOU HAVE
                                                  NOT ALREADY MAILED THIS PAYMENT PLEASE REMIT
                                                 IMMEDIATELY. THANK YOU FOR YOUR COOPERATION.
                                                                 2014 Totals Year-to-Date
                                          Total fees charged in 2014                                            $0.00
                                          Total interest charged in 2014                                      $799.49


                                                             Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                             APR                      Balance Subject To             Interest Charge   Remaining
                                                                 %                          Interest Rate                                  Balance
Purchases                                                        9.99% (V)                            $0.00                       $0.00          $0.00
Cash Advances                                                    9.99% (V)                       $11,981.70                      $99.80     $12,781.27
SPECIAL RATE        PURCHASES                                    7.49%                            $2,315.93                      $14.45      $2,429.95
Days in Billing Cycle: 30                                       (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.
Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 84 of 105 PageID #:1311
4306793020310267

                       Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 85 of 105 PageID #:1312
          6486             JAH          1       7   18     140818   0         E X PAGE 1 of 2               1 0    5752     3000     JZKB    O1AI6486


                                                                                Cardholder Name                                      Account Number                                              Page 1 of 2
                                                                                  MICHAEL J WOOD                               XXXX-XXXX-XXXX-0267


                                                                                                                             You are a valued member!
                                                                                                                            Thank you for allowing us the
                                                                                                                              opportunity to serve you.


                                 Account Information                                                                                                         Account Summary
          Statement Closing Date                                     08/18/2014                                                             Previous Balance                                          $15,211.22
          Credit Limit                                               $13,500.00                                                       -     Payments                                                       $0.00
          Available Credit                                               NONE                                                         -     Other Credits                                                  $0.00
          Cash Credit Limit                                          $13,500.00                                                       +     Purchases                                                      $0.00
          Available Cash                                                  $0.00                                                       +     Cash Advances                                                  $0.00
          Past Due Amount                                             $2,369.00                                                       +     Other Debits                                                   $0.00
          Amount Over Credit Limit                                    $1,825.47                                                       +     Fees Charged                                                   $0.00
                                                                                                                                      +     Interest Charged                                             $114.25
                                                                                                                                      =     New Balance                                               $15,325.47

                                                                                             Payment Information
          Payment Due Date: 09/15/2014                                                                                                                              Minimum Payment Due: $2,676.00
          Late Payment Warning: If we do not receive your minimum payment on the due date listed above, any promotional APR may be increased up to the
          variable cash advance APR of 9.99%.
          Minimum Payment Warning: If you make only the minimum payment each period, you will pay more in interest and it will take you longer to pay off your
          balance. The table is based on your standard minimum payment and does not include any past due and overlimit amounts. For example:
                          If you make no additional charges using this You will pay off the balance shown    And you will end up paying an
                                 card and each month you pay...           on this statement in about...            estimated total of...
                                   Only the minimum payment                         26 Years                           $24,257.00




                                                                                                                                                                                                                          08/2014
                                            $494.00                                  3 Years                           $17,801.00
                                                                                                                (Savings = $6,456.00)
                                                         If you would like information about credit counseling services, call 1-866-685-6322.

                                                                                                   Transactions
                 Post Date          Trans Date                      Reference                                                      Description                                               Amount
                                                                                                         Fees
                                                                                                   TOTAL FEES FOR THIS PERIOD                                                                         $0.00
                                                                                                Interest Charges
                   08/18                08/18                                                       Interest Charge on Purchases                                                                   $14.45
                   08/18                08/18                                                       Interest Charge on Cash Advances                                                               $99.80
                                                                                                    TOTAL INTEREST FOR THIS PERIOD                                                                $114.25



                 Remit Payment to:                                                    Mail Inquiries To:                                                             Questions?
                 PENFED CREDIT UNION                                                  PENFED CARD SERVICES P.O. BOX 456                                              Call Customer Service: 800-247-5626
                 PO BOX 247080 OMAHA, NE 68124-7080                                   ALEXANDRIA, VA 223130456                                                       Lost or Stolen Card:   800-556-5678
                                                                                 We appreciate your membership!
                             Detach the bottom portion and return payment using enclosed envelope to be received no later than by 5:00 p.m. on the due date. Please use blue or black ink.

                                                                                                                                                                                                 Payment Due Date
                   PENFED CREDIT UNION                                                                                                                                                              September
                   PO BOX 456                                                                                                                                                                S M      T W T       F   S
                                                                                                                    Account Number               XXXX-XXXX-XXXX-0267                              1   2   3   4   5   6
                   ALEXANDRIA VA 22313-0456
                                                                                                                                                                                             7    8   9 10 11 12 13
                                                                                                                      New Balance                       $15,325.47                           14 15 16 17 18 19 20
                                                                                                                                                                                             21 22 23 24 25 26 27
                                                                                                                  Minimum Payment Due                     $2,676.00                          28 29 30
          Make Payment Payable to PENFED




                                                                                                                          MICHAEL J WOOD
              PENFED CREDIT UNION                                                                                         4555 N KOSTNER AVE
              PO BOX 247080                                                                                               CHICAGO IL 60630-4109
              OMAHA, NE 68124-7080

              FDDFDFAFADFTATFDAFFATDDFFTTFTFDTDTAFAATTFDFDTDATFDDTFADTDFAADFDDF                                           DFAAAATDFDTDFAATFAATDDADTFTFAADFTFTTTFDDATDTTTTTTFFATATFTDADTDDDD



                                                                                                                                    02676
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            Case: 1:20-cv-02369 Document #: 101-2 Filed: 09/01/22 Page 87 of 105 PageID #:1314
6486          JAH       1     7   18   140818   0     E X PAGE 2 of 2          1 0    5752   3000   JZKB   O1AI6486


              Cardholder Name                           Account Number                                                                    Page 2 of 2
               MICHAEL J WOOD                         XXXX-XXXX-XXXX-0267


                                                              Transactions (continued)
       Post Date     Trans Date                  Reference                             Description                                        Amount
                                                YOUR ACCOUNT IS CURRENTLY PAST DUE. IF YOU HAVE
                                                  NOT ALREADY MAILED THIS PAYMENT PLEASE REMIT
                                                 IMMEDIATELY. THANK YOU FOR YOUR COOPERATION.
                                                                 2014 Totals Year-to-Date
                                          Total fees charged in 2014                                            $0.00
                                          Total interest charged in 2014                                      $913.74


                                                             Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                    Type of Balance                             APR                      Balance Subject To             Interest Charge   Remaining
                                                                 %                          Interest Rate                                  Balance
Purchases                                                        9.99% (V)                            $0.00                       $0.00          $0.00
Cash Advances                                                    9.99% (V)                       $11,981.70                      $99.80     $12,881.07
SPECIAL RATE        PURCHASES                                    7.49%                            $2,315.93                      $14.45      $2,444.40
Days in Billing Cycle: 31                                       (V) = Variable Rate
See reverse side of page1 for explanation of Interest Charge calculation. If on the billing cycle closing date shown above you have no
previous balance for either purchases, cash advances, or balance transfers after we apply payments and credits made during the
billing cycle and if you pay the new balance shown above in full within 25 days of the billing cycle closing date (that is on or before
the payment due date), you will not have to pay a INTEREST CHARGE on the new purchases shown above. However, cash
advances and balance transfers continue to accrue interest charges until paid in full.
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             EXHIBIT
                3
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             EXHIBIT
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